        Case 3:14-cv-03630-LB Document 57-3 Filed 06/30/17 Page 1 of 42


1    PAUL DAVID MAROTTA (State Bar No. 111812)
     MEGAN JEANNE (State Bar No. 251294)
2    THE CORPORATE LAW GROUP
     1342 ROLLINS ROAD
3    BURLINGAME, CA 94010
     Telephone:   (650) 227-8000
4    Facsimile:   (650) 227-8001
     paul@tclg.com
5    megan@tclg.com
6    Attorneys for Plaintiff
     MENTOR CAPITAL, INC.
7

8
                                    UNITED STATES DISTRICT COURT
9
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
       MENTOR CAPITAL, INC.,                                )   Civil Action No. 3:14-cv-03630-LB
11
                                                            )
12           Plaintiff.                                     )   DECLARATION OF KEVIN
                                                            )   SINGER IN SUPPORT OF
13                            v.                            )   MENTOR CAPITAL, INC.’S
                                                            )   MOTION TO APPOINT A
14     BHANG CHOCOLATE COMPANY, INC., a                     )   RECEIVER
15
       Nevada corporation and BHANG                         )
       CORPORATION, a Nevada corporation,                   )   Date:         August 10, 2017
16                                                          )   Time:         9:30 a.m.
             Defendants.                                    )   Courtroom:    C
17                                                          )
                                                            )
18

19          I, Kevin Singer declare and state as follows:

20          1.      The information set forth below is known to me through first hand knowledge. If

21   called as a witness in this matter, I could and would competently testify under oath as to the facts set

22   forth below.

23          2.      I am founder and President of Receivership Specialists, which specializes in both

24   State and Federal Court Receiverships (Real Estate and Businesses), Referee Assignments,

25   Partition Sales, Real Estate & Business Brokeraging, and Real Estate Consulting for Receiverships.

26          3.      In addition to having acted as a Superior Court Receiver/Referee in over 290 cases in

27   the last sixteen years, I have also acted as a Federal Court Trustee and Custodian. I am a six time

28   participant and panelist in a California Receivers Forum Training Program in conjunction with

                                           -1-
     DECLARATION OF KEVIN SINGER IN SUPPORT OF MENTOR CAPITAL, INC.’S MOTION TO
     APPOINT A RECEIVER – 3:14-cv-03630-LB
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1    Loyola Law School, a licensed California Real Estate Broker, a licensed California General
2    Contractor, founder and former President of a diversified real estate company, and a former
3    Government Affairs Director for a non-profit apartment association with over 36,000 members. I am
4    also currently a member of the Board of Directors for the California Receivers Forum and an
5    Associate Publisher for the Receivership News.
6           4.     I have experience in receiverships in the cannabis industry.
7           5.     A true and correct copy of my receivership resume is attached hereto as Exhibit A.
8           6.     Neither I nor my office is associated with, or employed by, any party in this matter.
9           7.     My standard billing rate is $ 275.00 per hour, billed at a minimum period of one fifth
10   on one hour (12 minutes).
11          I declare under penalty of perjury under the laws of the State of California that the foregoing
12   is true and correct and that this Declaration was signed by the undersigned on June 29, 2017 at Los
13   Angeles, California.
14

15                                                        /Kevin Singer/
                                                          Kevin Singer
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     DECLARATION OF KEVIN SINGER IN SUPPORT OF MENTOR CAPITAL, INC.’S MOTION TO
     APPOINT A RECEIVER – 3:14-cv-03630-LB
Case 3:14-cv-03630-LB Document 57-3 Filed 06/30/17 Page 3 of 42




                    EXHIBIT A
                  To Declaration of Kevin Singer
         In support of Judgment Creditor Mentor Capital's
                        Motion for a Receiver



     Northern District of California Case Number 3:14-cv-03630-LB
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                   RECEIVERSHIP SPECIALISTS
                 STATE AND U.S. FEDERAL COURT RECEIVERS/TRUSTEES



                                         Kevin Singer
         Court Receiver, Court Referee, Trust Administrator & Bankruptcy Trustee
                                  Cell: (323) 864-4214
    E-mail: Kevin@ReceivershipSpecialists.com Web: www.ReceivershipSpecialists.com
                                                                                                           Corporate Headquarters
                                                                                                           Los Angeles
          Kevin Singer is founder and President of Receivership Specialists and with his business          11150 W. Olympic Blvd.
                                                                                                           Suite 810
partner John Rachlin, they specialize in state and Federal Court Receiverships, Referee                    Los Angeles, CA 90064
                                                                                                           Tel: (310) 552-9064
                                                                                                           Fax: (310) 552-9066
Assignments, Partition Sales, Provisional Director Assignments, Professional Trustee
Assignments and Bankruptcy Trustee Assignments. Receivership Specialists has offices in Los                San Francisco
                                                                                                           795 Folsom Street
Angeles, San Francisco, Sacramento, San Diego, Phoenix, Reno, Las Vegas and Denver and                     1st Floor
                                                                                                           San Francisco, CA 94107
handles assignments throughout the Southwest. The alliance of these two professionals brings               Tel: (415) 848-2984
                                                                                                           Fax: (415) 848-2301
together their vast knowledge and experience in the areas of law, real estate, business management,
                                                                                                           San Diego
construction, and conflict resolution.                                                                     4370 La Jolla Village Drive
                                                                                                           Suite 400
          Mr. Singer first started getting appointed as a rents & profits receiver due to his extensive    San Diego, CA 92122
                                                                                                           Tel: (858) 546-4815
real estate, property management and construction experience as founder and co-owner of a                  Fax: (858) 646-3097


diversified real estate and consulting company. He is both a Real Estate Broker and Licensed               Sacramento
                                                                                                           980 9th Street
Building Contractor. After selling that company in 2000, Mr. Singer once again joined forces with          16th Floor
                                                                                                           Sacramento, CA 95814
his long time counsel, friend and business partner, Mr. Rachlin, to specialize in receivership             Tel: (916) 449-9655
                                                                                                           Fax: (916) 446-7104
assignments. Mr. Rachlin is co-founder and a principal with Receivership Specialists and has
                                                                                                           Las Vegas
been a licensed attorney for 26 years. Although Mr. Rachlin now serves as a full-time Receiver             7251 W. Lake Mead Blvd.
                                                                                                           Suite 300
and Referee, he previously practiced in various areas of real estate and general business law, as          Las Vegas, Nevada 89128
                                                                                                           Tel: (702) 562-4230
well as served as in-house counsel for a large real estate company. Over the past sixteen years,           Fax: (702) 562-4001

Mr. Singer and Mr. Rachlin have handled over 295 cases for large and small banks, private lenders,         Reno
                                                                                                           200 S. Virginia Street
private investors and municipalities. They have also managed and transitioned over a billion dollars       Suite 800
                                                                                                           Reno, Nevada 89501
in assets. Mr. Singer has served as a Receiver, Referee, Trustee, and Bankruptcy Trustee over all          Tel: (775) 398-3103
                                                                                                           Fax: (775) 686-2401
different types of real estate, businesses, gas stations, hotels, assisted living facilies, restaurants,
bars, liquor licenses, family estates/trusts, commodities and construction projects.     Mr. Singer is     Phoenix
                                                                                                           40 N. Central Ave.
                                                                                                           Suite 1400
currently on the Board of Directors for the California Receivers Forum (CRF), an Associate                 Phoenix, Arizona, 85004
                                                                                                           Tel: (602) 343-1889
Publisher for Receivership News, six time participant and panelist at the CRF in Conjunction with          Fax: (602) 343-1801

Loyola Law School Receivers Education Program and he lecturers and writes on various topics in             Denver
                                                                                                           1600 Broadway
the receivership field.                                                                                    Suite 1600
                                                                                                           Denver, CO 80202
                                                                                                           Tel: (303) 386-7193
                                                                                                           Fax: (303) 386-7101
                                                                                                                   1
                Case 3:14-cv-03630-LB Document 57-3 Filed 06/30/17 Page 5 of 42
HOURLY BILLING RATES: $275 per hour for principals, $250 for senior project managers, $185 per hour
for project managers and $85 an hour for support staff.
Affiliated Organizations – Member & Board of Director for California State and Los Angeles/Orange
County Chapter of California Receivers Forum; Bay Area Receivers Forum; San Diego Receivers
Forum, Clark County Bar Association; Maricopa Bar Association, National Association of Realtors.

Speaking Engagements & Publications
6/7/2017 Receivership 101 (Pima County Bar Association)
3/4/2017 Marijuana Receiverships (California Receivers Forum)
3/3/2017 Procedures To Control Vexatious Litigation In Receivership Cases (California Receivers Forum)
2/27/2017 Budding Issues: The Intersection of Legal Marijuana and Federal Bankruptcy Proceedings (Los
Angeles Bankruptcy Forum.
11/10/2016 Ask The Judges Luncheon (California Receivers Forum)
8/18/2016 Receivership News: The Do’s and Don’ts of Medical Marijuana Receiverships
7/16/2016 Running a Pot Business (Turnaround Management Association, San Diego California)
6/9/2016 Gas Stations & Convenience Stores: Preparing for a Successful Sale (OC Receivers Forum)
5/13/2016 Medical Marijuana Receiverships (The Law Firm of Gust Rosenfeld, Phoenix Arizona)
10/28/2015 Sex, Drugs, and Section 8: The Seedy Underbelly of Receiverships (Bay Area Receivers Forum)
6/17/2015 Oil Fields & Gas Station Receiverships (Los Angeles/Orange Country Receivers Forum).
Summer 2014 California Receivership News: A Story of Risk in a Post-Judgment Receivership
9/11/2014 Successful Sale of Assets through Post Judgment Receiverships (Los Angeles/Orange County
Chapter of CRF)
5/2/2014 State & Federal Court Receiverships (Ron Siegel Radio Show)
4/04/2013 Environmental Receiverships (Los Angeles/Orange County Chapter of CRF)
2/22/2013 Business Receiverships (The Law Firm of Wolf, Rifkin, Shapiro, Schulman & Rabkin, LLP)
1/19/2013 Receiverships with Environmental Issues (California Receivers Forum in Conjunction with Loyola
Law School).
Fall 2012 Receivership News: Interview with Judge Luis A. Lavin
10/31/2011 Selling Personal Property through Receiverships (Orange County Receivers Forum).
10/17/2011 Receiverships 2012 & Beyond (San Diego Receivers Forum).
Fall 2011 Receivership News: Receivership Liquor License Sales.
9/26/2011 Condominium Receiverships (Bank & Financial Institutions Forum).
9/22/2011 Receiverships Selling Property and Clearing Title (Los Angeles Receivers Forum).
5/21/2011 Commercial Receiverships (California Bankruptcy Forum).
1/22/2011 Rents & Profits Receiverships (California Receivers Forum in Conjunction with Loyola Law
School).
8/25/2010 Receiverships over Broken Condominium Projects (California Receivers Forum).
10/27/2009 How to Sell Real Estate Though a Partition or Receivership (California Receivers Forum).
8/20/2009 Ask The Commissioner and Receiver (California Receivers Forum).
8/19/2009 Protecting Tenants at Foreclosure Act 2009 and Receiverships (American Legal Financial
Network).
2/25/2009 Partition Referees, a Tool for Estate Management and Sales (Riverside County Bar
Association).
9/11/2008 Breakfast with the Experts (San Diego Receivers Forum).




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CASE ASSIGNMENTS:
  Ama Urrutia vs. Hasna Bashara – Judge Arnold Levin Dept. 66
  (Los Angeles County, Los Angeles Superior Court Case No. BC229134)
  642 Plymouth Avenue, Los Angeles, CA 90038
  May 2000 to February 2001
  Receiver (appointed to protect, manage and correct Health & Safety Violations for an apartment building).

    Margaret Martin vs. Maria Wooden- Judge Richard Fruin Jr. Dept. 15
    (Los Angeles County, Los Angeles Superior Court Case No. BC271829)
    833 W. 58th Street, Los Angeles, CA 90037
    November 2002 to March 2003
    Receiver/Referee/Partitioner (appointed to protect, manage, correct Health & Safety Violations, sell single
    family home, and facilitate the division of proceeds amongst the parties).

    Hartel Dillion vs. Jaspal Dillion- Judge Richard Fruin Jr. Dept. 15
    (Los Angeles County, Los Angeles Superior Court Case No. TC011162)
    8227 Alhambra Avenue, Paramount, CA 90723
    September 2003 to January 2004
    Receiver/Partitioner (appointed to protect, manage and partition an apartment building).

    CMR Mortgage vs. M & S Properties LLC- Commissioner Victor Greenberg Dept. 66
    (Los Angeles County, Los Angeles Superior Court Case No. BC314632)
    729 S. Union Avenue, Los Angeles, CA 90058
    1021 S. Park View Street, Los Angeles, CA 90006
    May 2004 to November 2004
    Receiver (appointed to protect, manage and correct Health & Safety violations for two single room occupancy
    (SRO) apartment buildings with 166 units).

    Julia Torres vs. Ruben Torres- Judge Joanne O’Donnell
    (Los Angeles County, Los Angeles Superior Court Case No. BC328299)
    1929 Hancock Street, Los Angeles, CA 90031
    October 2004 to March 2005
    Receiver/Referee/ Partitoner (appointed over an apartment building to protect, manage, sell and facilitate the
    division of the proceeds amongst the parties).

    Juan Rodarte vs. Mario Frias- Judge Richard Fruin Jr. Dept. 15
    (Los Angeles County, Los Angeles Superior Court Case No. BC310006)
    6131 Clybourn Street, North Hollywood, CA 91605
    November 2004 to April of 2005
    Receiver/Referee/ Partitioner (appointed over an apartment building to protect, manage, sell and facilitate the
    division of proceeds amongst the parties).

    CMR Mortgage vs. M & S Properties LLC- Judge Barry Russell
    (United States Bankruptcy Court Case No. LA0432491BR)
    729 S. Union Avenue, Los Angeles, CA 90058
    1021 S. Park View Street, Los Angeles, CA 90006
    November 2004 to May 2005
    United State Bankruptcy Custodian (appointed to protect and manage two single room occupancy (SRO)
    apartment buildings with 166 units).

    City of Los Angeles vs. Patrick Larkin- Commissioner Bruce Mitchell Dept. 59
    (Los Angeles County, Los Angeles Superior Court Case No. BC328299)
    2117 to 2129 Vallejo Street, Los Angeles, CA 90031
    May 2005 to August 2005
    Court Consultant (appointed to write a Property Evaluation, Project Feasibility, Comparative Market Analysis,
    and Rent Evaluation Reports).
                                                                                                                      3
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CMR Mortgage vs. P. Bidda Holdings Inc.- Judge Steve Brick
(County of Alameda, Oakland Superior Court Case No. HG05220034)
4160- 4170 Business Center Drive, Fremont, CA 94538
June 2005 to February 2006
Receiver (appointed to protect and manage a 38,000 square foot office/manufacturing complex).

CMR Mortgage vs. P. Bidda Holdings Inc.- Judge Leslie Tchaikovsky
(United States Bankruptcy Court Case No. 05-49187)
4160 Business Center Drive, Fremont, CA 94538
November 2005 to February 2006
United States Bankruptcy Custodian (appointed to protect and manage a 38,000 square foot
office/manufacturing complex).

Tom Block vs. Glen D. Boon- Commissioner Bruce Mitchell Dept. 59
(Los Angeles County, Los Angeles Superior Court Case No. BC 355173)
4017 Country Club Drive, Los Angeles, CA 90019
July 2006 to November 2006
Receiver (appointed to protect and manage an apartment building).

Torres vs. Torres - Judge Richard Fruin Jr. Dept. 15
(Los Angeles County, Los Angeles Superior Court Case No. B 295780)
5616 Via Corona Street, Los Angeles, CA 90022
July 2006 to February 2007
Receiver/Referee/ Partitioner (appointed over an apartment building to protect, manage sell and facilitate the
division of proceeds amongst the parties).

California Mortgage And Realty, Inc. vs. Twenty-Seven Fresno, LLC.-Judge Peter J. Busch Dept. 301
(San Francisco County, San Francisco Superior Court Case No. CGC-06-456531)
4715 to 4741 McKinley Avenue, Fresno, CA 93703
575 California Avenue, Sand City, CA 93955
655 Redwood Avenue, Sand City, CA 93955
October 2006 to June 2008
 Receiver (appointed to protect and manage a 200 unit public storage building and a 33 unit apartment building).

Akira Bob Nakamur vs. Mora Bee Siewert- Judge William G. Willett Dept. 11,
(Los Angeles County, South Bay Superior Court Case No. YC054106)
10208 to 10212 Felton Avenue, Inglewood, CA 90304.
December 2006 to May 2007
 Receiver (appointed to protect and manage a 32 unit apartment building).

Juan Meza vs. Valentina Jimenez - Judge Rolf M. Treu Dept. 58
(Los Angeles County, Los Angeles Superior Court Case No. BC 362146)
4660 Dozier Avenue, Los Angeles, CA 90022
January 2007 to September 2008
Receiver/Referee/ Partitioner (appointed over a single family home to protect, manage, sell and facilitate the
division of proceeds amongst the parties).

Scarlett vs. Eddings - Judge Richard Fruin Jr. Dept. 15
(Los Angeles County, Los Angeles Superior Court Case No. BC 353354)
4524-4528 Edgwood Place, Los Angeles, CA 90019
Lancaster Land
June 2007 to October 2008
Referee/ Partitioner (appointed over an apartment building and 80 acres of land to protect, manage, sell and
facilitate the division of proceeds amongst the parties).

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De Witt vs. Peterson - Judge Paul Gutman Dept. 34
(Los Angeles County, Los Angeles Superior Court Case No. BC 336162)
1434 Stanford Street, Santa Monica, CA 90404
July 2007 to November 2007
Receiver (appointed over an apartment building to protect, manage and sell and facilitate the division of proceeds
amongst the parties).

Lone Oak Fund vs. Nasser Albo Abdo, LLC - Judge Sheila Fell/ Clay Smith Dept. C-22
(Orange County, Santa Ana Superior Court Case No. 07CC08271)
114 Berry Street, Brea, CA 92821
July 2007 to November 2008
Receiver (appointed to protect and manage a 100,000 sq. ft. Industrial Warehouse collecting over $912,000 of
rents per year).

California Mortgage And Realty, Inc. vs. Twenty-Seven Fresno, LLC.-Judge Peter J. Busch Dept. 301
(San Francisco County, San Francisco Superior Court Case No. CGC-07-467287)
575 California Avenue, Sand City, CA 93955
655 Redwood Avenue, Sand City, CA 93955
950, 707, 709, 713, 717, 719, 938 Linden Avenue, South San Francisco, CA 94080.
712, 714 Linden Avenue, South San Francisco, CA 94080
311 Aspen Avenue, South San Francisco, CA 94080
6010 Mariposa Road, Hesperia, CA 92344
4819 Clayton Road, Concord, CA 94521
31252 Veasy Street, Union City, CA 94587
4700-4862 Homer Street, Union City, CA 94587
September 2007 to March 2009
Receiver (appointed to protect and manage a 200 unit public storage building, 110,000 square feet of office and
industrial space, gas station, 40 unit parking lot, and 20 unit apartment building).

Howard Higginson v. Gwendolyn Patin- Judge Mary Thorton House Dept. 17
(Los Angeles County, Los Angeles Superior Court Case No. BC356318)
616 East 84th Place, Los Angeles, CA 90001
September 2007 to March 2008
Referee/ Partitioner (appointed over a single family home to protect, manage, sell and facilitate the division of
proceeds amongst the parties).

Marrufo vs. Portillo- Judge Ralph W. Dau Dept. 57
(Los Angeles County, Los Angeles Superior Court Case No. BC 353107)
4796 Academy Street, Los Angeles, CA 90032
October 2007 to May 2008
Referee/ Partitioner (appointed over an apartment building to protect, manage, sell and facilitate the division of
proceeds amongst the parties).

Garnik Gholikandi Badalyans vs. Caltron Construction, Inc- Judge Richard Fruin Dept. 15
(Los Angeles County, Los Angeles Superior Court Case No. BC-341906)
Apn: Riverside County- 407-100-107, 407-100-108, 407-070-023, 407-070-024 & 407-060-001
October 2007 to February 2009
Referee/ Partitioner (appointed over 320 acres of land to protect, manage, sell and facilitate the division of
proceeds amongst the parties).

California Mortgage & Realty vs. Edward Suleiman- Judge Charles R. Hayes
(San Diego County, San Diego Superior Court Case No. 37-2007-00078050-CU-OR-CTL)
2640-2644 Market Street, San Diego, CA 92102
3626 Maint Street, San Diego, CA 92113
November 2007 to October 2008
Receiver (appointed to protect and manage an 11,000 square feet commercial building).

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Terry vs. Puentes- Judge Richard Fruin Dept. 15
(Los Angeles County, Los Angeles Superior Court Case No. BC-372787)
4257 E. Eugene Street, Los Angeles, CA 90063
December 2007 to August 2008
Referee/ Partitioner (appointed over a single family home to protect, manage, sell and facilitate the division of
proceeds amongst the parties).

Janet Mimms vs. Joyce Scott- Judge Barbara Zaniga Dept. 2
(Contra Costa County, Martinez Superior Court Case No. MSC07-02491)
January 2008 to November 2008
Receiver (appointed to protect and manage a janitorial company).

Coastline Commercial Capital vs. Rosario Del Carmen Canjura- Commissioner Victor Greenberg Dept. 66
(Los Angeles County, Los Angeles Superior Court Case No. BC385018)
1659-1681 South Catalina Avenue, Los Angeles, CA 90006
February 2008 to March 2008
Receiver (appointed to protect and manage an apartment building).

Norm Pomeranz vs. Michelle Diaz- Commissioner Bruce Mitchell Dept. 59
(Los Angeles County, Los Angeles Superior Court Case No. BC385287)
16815 W. Sunset Blvd., Pacific Palisades, CA 90272
February 2008 current June 2009
Receiver (appointed to protect and manage a single family estate in the Palisades).

Chris Shiohama vs. Hester Nash- Judge Michelle R. Rosenblatt Dept. A
(Los Angeles County, Burbank Superior Court Case No. EC 043484)
Global Domination Industries, LLC
March 2008 to November 2009
Partition Referee/Receiver (appointed over an Adult Entertainment Business to protect, manage, sell and
facilitate the distribution of proceeds amongst the partners).

John Schweizer & Forrest Canutt vs. Rediation Services, Inc.-Judge Peter J. Busch Dept. 301
(San Francisco County, San Francisco Superior Court Case No. CGC-08-472561)
Remediation Services, Inc.
April 2008 to December 2008
Court Receiver (appointed to protect and manage an environmental engineering company with multi-million
dollar environmental clean-up and abatement contracts).

Alliance Bank vs. Silver Oaks Estates- Judge Kenneth Freeman, Dept. 64
(Los Angeles County, Los Angeles Superior Court Case No. BC3887047)
Silver Oak Estates, Lancaster, CA
April 2008 to February 2009
Receiver (appointed to protect, manage, obtain entitlement, complete construction and sell a 21 unit housing
development project).

Alliance Bank vs. Davy J. Shuffler- Judge Kirk H. Hakamura, Dept. C56
(Orange County, Santa Ana Superior Court Case No. 30-2008-00105514)
2753 Solana Way, Laguna Beach, CA 92651
May 2008 to March 2009
Receiver (appointed to protect, manage, develop budgets to complete the construction for a luxury beach home).

Lone Oak Fund, LLC. vs. Phu Hin Cheng-Judge Peter J. Busch Dept. 301
(San Francisco County, San Francisco Superior Court Case No. GHG-08-475703)
2201 Irvining Street and 1311-1315 23rd Ave., San Francisco, CA 94122
May 2008 to January 2009
Receiver (appointed to protect and manage an 11,000 square foot office and grocery retail store building).

                                                                                                                    6
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Lone Oak Fund, LLC. vs. Jose L. Lara, Commissioner Victor Greenberg Dept. 66
(Los Angeles County, Los Angeles Superior Court Case No. BC 393531)
1545 Gordon Street, 5923 Carlton Way, 5947 Carlton Way, Los Angeles, CA 90028
July 2008 to November 2008
Receiver (appointed to protect and manage a 41 unit apartment building).

Budget Finance Company vs. Charles Green, Commissioner Victor Greenberg Dept. 66
(Los Angeles County, Los Angeles Superior Court Case No. BC 393582)
1144 Commonwealth, Los Angeles, CA 90029
July 2008 to July 2008
Receiver (appointed to protect, administer and manage an apartment building)

Alliance Bank vs. 138 ¼ Portfolio, Judge Joseph E. Di Loreto Dept. H
(Los Angeles County, Long Beach Superior Court Case No. NC 051283)
1148 Stanley Avenue, Long Beach, CA
833-839 Gaviota, Long Beach, CA
755 Gaviota Avenue, Long Beach, CA
1126 Raymond Avenue, Long Beach, CA
2914 16th Street, Long Beach, CA
1124 Molino Avenue, Long Beach, CA
784 Rose Avenue, Long Beach, CA
2330 E. 6th Street, Long Beach, CA
1119 Dawson Avenue, Long Beach, CA
777-784 Gaviota, Long Beach, CA
1045 Myrtle Avenue, Long Beach, CA
1621 E. 7th Street, Long Beach, CA
329 W. 14th Street, Long Beach, CA
July 2008 to November 2008
Receiver (appointed to protect, manage and develop 138 condominium units in 14 separate properties- value of
portfolio was $27 million).

Zions First National Bank vs. Eva Correa, Commissioner Victor Greenberg Dept. 66
(Los Angeles County, Los Angeles Superior Court Case No. BC 393374)
9900 Lakewood Blvd., Downey, CA 90240
July 2008 to January 2009
Receiver (appointed to protect and manage an office building).

Jaun Garcia vs. Manuel Avila, Judge Michael Mink Dept. B
(Los Angeles County, Burbank Superior Court Case No. EC 045029)
12003 Neenach Street, Sun Valley, CA 91352-3017
August 2008 to May 2009
Referee/ Partitioner (appointed over a single family residence to protect, manage, sell and facilitate the division
of proceeds amongst the parties).

Budget Financial vs. Angel Tamiko, Judge Brett C. Klein Dept. 66
(Los Angeles County, Los Angeles Superior Court Case No. BC 397332)
845 W. 75th Street, Los Angeles, CA 90044
August 2008 to August 2009
Receiver (appointed to protect and manage an apartment building).

Budget Financial vs. Juan D. Nava, Commissioner Victor Greenberg Dept. 66
(Los Angeles County, Los Angeles Superior Court Case No. BC 398966)
7305 Raymond Ave., Los Angeles, CA 90044
September 2008 to October 2008
Receiver (appointed to protect and manage a commercial building and apartment building).

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Budget Financial vs. Guillermo Bertotto, Judge Paulette D. Barkley Dept. 10
(Riverside County, Riverside Superior Court Case No. RIC 509323)
27188 Sun City Blvd., Sun City, CA 92586
October 2008 current January 2009
Receiver (appointed to protect and manage an apartment building).

RTI vs. Nino Khader, Judge Lesley Holland Dept. 13
(San Joaquin County, Stockton Superior Court Case No. 39-2008-00194500-CU-OR)
1108 Porter Avenue, Stockton, CA 95207
October 2008 to February 2009
Receiver (appointed to protect and manage an apartment building).

Budget Financial Co. vs. Arturo Perez Gonzales, Judge Joseph Zimmerman, Dept. 9
(Imperial County, El Centro Superior Court Case No. ECU 04717)
337-339 West Main Street, Calipartia, CA 92233
October 2008 current June 2009
Receiver (appointed to protect and manage an apartment building).

Budget Financial Company vs. Gabriel Solomon, Commissioner Bruce Mitchell Dept. 59
(Los Angeles County, Los Angeles Superior Court Case No. BC 400909)
359 E. 56th Street, Los Angeles CA 90011
October 2008 to October 2008
Receiver (appointed to protect and manage an apartment building).

Bodden vs. Bodden, Judge Richard Fruin, Dept. 15
(Los Angeles County, Los Angeles Superior Court Case No. BC386756)
332-334 East 111th Place, Los Angeles, CA 90061
July 2008 to March 2009
Referee (appointed over an apartment building to protect, manage, sell and facilitate the division of proceeds
amongst the parties).

Alliance Bank vs. Royal Homes, Judge Paulette Durand-Barkley Dept. 15
(Riverside County, Riverside Superior Court Case No. RIC511466)
601 E. 12th Street, Riverside, CA 92223
November 2008 current March 2009
Receiver (appointed to protect, manage, obtain entitlements, complete construction and sell a 23 unit housing
development project).

LCGI Mortgage Fund, LLC. vs. Georgia-Crest Villas, LLC- Judge Ronald S. Prager, Dept. C71
(San Diego County, San Diego Superior Court Case No. 37-2008-00093120-CU-OR)
3907 Georgia Street, San Diego, CA 92103-3545
November 2008 to August 2009
Receiver (appointed to protect, manage, complete construction and sell a 21 unit condominium development
project).

The Equity Firm, Inc. vs. Investment Properties, LLC. -Commissioner Victor Greenberg Dept. 66
(Los Angeles County, Los Angeles Superior Court Case No. BC402884)
2901, 2907, 2911, 2913, 2915, 2917 North Main Street and 1906 and 1908 Griffin Avenue, Los Angeles, CA
90031
December 2008 to June 2009
Receiver (appointed to protect and manage a commercial building and residential apartment building).

Alliance Bank vs. Pauba Ridge LLC, Judge Gloria Connor Trask Dept. 01
(Riverside County, Riverside Superior Court Case No. RIC515436)
100 acres of land in Temecula, California
January 2009 to February 2010
Receiver (appointed over a 41 lots designed for 20,000 square foot homes to protect, manage, obtain entitlements,
settle litigation, complete construction and sell the project.
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Andrew Narraway vs. Emerald Park House Corporation -Judge Judith Craddick Dept. 9
(Contra Costa County, Martinez Superior Court Case No. C09-00027)
39 North Broadway Avenue, Bay Point, CA 94565
January 2009 to February 2009
Receiver (appointed to protect and manage a 43 unit apartment building).

Lone Oak Fund, LLC. vs. Issac Muhawieh-Judge Charlotte Walter Woolard Dept. 302
(San Francisco County, San Francisco Superior Court Case No. GHG-09-484300)
555-559 Divisadero Street, San Francisco, CA 94117
January 2009 current May 2009
Receiver (appointed to protect and manage a mix use residential/commercial building).

Alliance Bank vs. Timber Ridge Meadows- Judge David L. Devore Dept. 2
(Alpine County, Markleville Superior Court Case No. C081087)
1 Palisades Drive, Kirkwood, CA 96120
January 2009 to January 2010
Receiver (appointed over a 28 condominium building to protect, manage, obtain entitlements, complete
construction and sell the project).

Lone Oak Fund, LLC. vs. Dalaco,LLC, Commissioner Victor Greenberg Dept. 66
(Los Angeles County, Los Angeles Superior Court Court Case No. BC 406644)
9201 Tobias Ave., Panorama City, Los Angeles CA 91402
January 2009 to August 2009
Receiver (appointed to protect and manage an apartment building).

Lone Oak Fund, LLC. vs. Wilson. - Commissioner Bruce Mitchell Dept. 59
(Los Angeles County, Los Angeles Superior Court Case No. BC406645)
5114-5118 W. Slauson Avenue, Los Angeles, CA 90056
January 2009 to October 2009
Receiver (appointed to protect and manage an apartment building).

RTI Properties vs. Dena Marie Martinez. -Judge Keith D. David- Dept. R6
(San Bernardino County, San Bernardino Superior Court Case No. RS 902044)
602 N. Euclid Ave., Ontario, CA 91762
March 2009 to November 2009
Receiver (appointed to protect and manage a commercial retail center).

Rosa Montes De Oca v. Alicia Montes De Oca- Judge Mary H. Strobel Dept. 32
(Los Angeles County, Los Angeles Superior Court Case No. BC385835)
539 West 81st Street, Los Angeles, CA 90044
March 2009 to October 2009
Referee/ Partitioner (appointed over an apartment building to protect, manager, sell and facilitate the division of
proceeds amongst the parties).

Alliance Bank vs. George and Nansee Lanning. -Judge Norman P. Tarle Dept. B
(Los Angeles County, Santa Monica Superior Court Case No. SC100776)
8931 San Fernando Road, Sun Valley, CA 91325
March 2009 to December 2012
Receiver (appointed to protect and manage a mobile home park).

Andrew Narraway vs. Emerald Park House Corporation -Judge Stephen Dombrink Dept. 19
(Alameda County, Oakland Superior Court Case No. RG09-429715)
3050 Fruitvale Avenue, Oakland, CA 94602
February 2009 to January 2010
Receiver (appointed to protect and manage an apartment building).


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Lone Oak Fund, LLC. vs. R/C Modeler Corporation - Commissioner Bruce Mitchell Dept. 59
(Los Ángeles County, Los Angeles Superior Court Case No. BC410513)
138 W. Sierra Madre Blvd. and 147 W. Mariposa Ave., Sierra Madre, CA 91204
March 2009 to December 2009
Receiver (appointed to protect and manage a commercial building and residential building).

East West Bank vs. 3rd International Investments Inc.-Judge Lawrence Appel Dept.16
(Alameda County Superior, Oakland Court Case No. RG09440563)
252 International Blvd. Oakland, CA 94606
April 2009 to September 2009
Receiver (appointed to protect and manage a condominium building).

East West Bank vs. GTS Property Santa Ana, Inc. - Judge Brett C. Klein Dept.66
(Los Angeles County, Los Angeles Superior Court Case No. BC410076)
689 S. Berendo St. Los Angeles, CA 90005
April 2009 to October 2009
Receiver (appointed to protect and manage a 37 unit Affordable Housing Project with tax credits).

Budget Financial Company vs. Gregory J. Tyler – Judge John M. True, III Dept 512
(Alameda County, Oakland Superior Court Case No.RG09443908)
2401 Warring Street and 2815 Channing Way, Berkeley, CA 94704
May 2009 to March 2010
Receiver (appointed to protect and manage two student housing projects)

Lone Oak Fund, LLC. vs. Central-Lexington Properties - Judge Brett C. Klein Dept.66
(Los Angeles County, Los Angeles Superior Court Case No. BC409612)
344 North Central Ave., Glendale, CA 91203
May 2009 to October 2009
Receiver (appointed to protect and manage a commercial building)

Lone Oak Fund, LLC. vs. Michael Shadman- Judge Jeff Almquist, Dept. 5
(Santa Cruz County, Santa Cruz Superior Court Case No. CV 164115)
344 Ocean Street, Santa Cruz, California 95060
June 2009 to December 2009
Receiver (appointed to protect and manage an apartment building)

Jose Rocha v. Luis Gaytan- Judge Jerry K. Fields Dept. 69
(Los Angeles County, Los Angeles Superior Court Case No. BC389460)
1628 E. 42nd Street, Los Angeles, CA 90011
June 2009 to December 2009
Referee/ Partitioner (appointed over a single family home to protect, manager, sell and facilitate the division of
proceeds amongst the parties).

Lone Oak Fund, LLC vs. Gonzalez - Judge Brett C. Klein Dept. 66
(Los Angeles County, Los Angeles Superior Court Case No. BC417185)
12110 Hadley Street, Whittier, CA 90601
16227 Lakewood Blvd., Bellflower, CA 90706
July 2009 to December 2009
Receiver (appointed to protect and manage a 7,473 square foot restaurant and a 16,099 square foot industrial
building).




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Nakagawa vs. Nakagawa, Judge Richard Fruin, Dept. 15
(Los Angeles County, Los Angeles Superior Court Case No. BC391381)
5299 Sepulveda Blvd., Culver City, CA 90230
7600 South Sepulveda Blvd., Los Angeles, CA 90045
331 North Robertson Blvd, West Hollywood, CA 90048
12553 Venice Blvd., Los Angeles, CA 90066
22844 Hawthorne Blvd., Torrance, CA 90505
1448 Lincoln Blvd., Santa Monica, CA 90401
1447 7th Street, Santa Monica, CA 90401
August 2009 to October 2010
Referee (appointed over a portfolio of commercial properties valued at 27 million dollars to protect, manage, sell
and facilitate the division of proceeds amongst the parties).

Lone Oak Fund, LLC. vs. 15101 Holdings, LLC- Judge David T. McEachen Dept. C-21
(Orange County, Santa Ana Superior Court Case No. 30-200900288270)
15101 Red Hill Ave., Tustin, CA 92780
August 2009 to current July 2010
Receiver (appointed to protect and manage a 50,000 sq. ft. “Class A” office building collecting over $1.5 million
per year in rents).

Lone Oak Fund, LLC vs. Kan Fan Cheung, Judge Lauren P. Thomasson Dept. 32
(San Joaquin County, Stockton Superior Court Case No. 39-2009-00223287-CU-STK)
2135 Stagecoach Road, Stockton, CA 95215
August 2009 to December 2009
Receiver (appointed to protect and manage a 42,000 square foot industrial warehouse).

California Bank & Trust vs. Barham Properties, LLC- Judge James C. Chalfant, Dept. 85
(Los Angeles County, Los Angeles Superior Court Case No. BC417017)
3300 Barham Boulevard, Los Angeles, CA 90068
September 2009 to August 2011
Receiver (appointed over a luxury condominium development to protect, manage, obtain entitlements, complete
construction and sell the project).

JP Morgan Chase Bank vs. 2317 Frederic LLC - Judge Brett C. Klein Dept. 66
(Los Angeles County, Los Angeles Superior Court Case No. BC423578)
8742 Orion Ave, North Hills, CA 91343
October 2009 to November 2010
Receiver (appointed to protect and manage an apartment building).

Stephen Ellis v. Paul Kalra- Judge Mary H. Strobel Dept. 32
(Los Angeles County, Los Angeles Superior Court Case, No. BC401854)
4391-011-009, 4391-020-008 and 4352-03-029 Beverly Hills, CA
November 2009 to October 2010
Referee/ Partitioner (appointed over 3 lots of land to protect, manage, sell and facilitate the division of proceeds
amongst the parties).

Lone Oak Fund, LLC. vs. Marine Galstyan - Judge Barbara A. Meiers Dept. 12
(Los Angeles County, Los Angeles Superior Court Case No. BC430632)
1033 Willard Avenue, Glendale, California 91201
January 2010 to April 2010
Receiver (appointed to protect and manage an apartment building).

DFI Funding, Inc. vs. Alura At Washington Square, LLC.- Judge David W. Reed, Dept. 15
(Yolo County, Woodland Superior Court Case No. CV 10-163)
412- 420 6th Street, West Sacramento, CA 95605
January 2010 to January 2011
Receiver (appointed to protect, complete entitlements, and construct a residential housing project).
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LCGI Mortgage Fund, LLC. vs. Sixth & E., LLC- Judge David W. Reed, Dept. 15
(Yolo County, Woodland Superior Court Case No. CV 10-161)
Sixth and E Street, West Sacramento, CA 95605
January 2010 to January 2011
Receiver (appointed to protect, complete entitlements, and construct a residential housing project).

Robert J. Mantor vs. Connie Grant- Judge James E. Loveder, Dept. C03
(Orange County, Santa Ana Superior Court Case No. 30-2009-00124151)
1916 W. Tedmar Ave., Anaheim, CA 92804
February 2010 to July 2010
Referee (appointed over a single family home and personal property to protect, manage, sell and facilitate the
division of proceeds amongst the parties).

The City of Los Angeles vs. Ronald Carrol- Judge James C. Chalfant Dept. 85
(Los Angeles County, Los Angeles Superior Court Case No. BC431381)
3425 West 27th Street, Los Angeles, CA 90018
April 2010 to November 2010
Receiver (appointed over a historic single family home to manage, bring in compliance with city and state building
ordinances, sell and facilitate the division of proceeds amongst the parties).

B Squared, Inc. vs. Bret Moshier - Judge Barbara A. Meier Dept. 12
(Los Angeles County, Los Angeles Superior Court Case No. BC436476)
10965 Wright Road, Lynwood, California 90262
April 2010 current January 2011
Receiver (appointed to protect and manage an apartment building).

Virginia Hattar vs. Daniel Chavez- Judge Richard Fruin Dept. 15
(Los Angeles County, Los Angeles Superior Court Case No. BC-424794)
1015 S. La Verne Avenue, Los Angeles, CA 90022
April 2010 to December 2010
Referee/ Partitioner (appointed over a single family home to protect, manage, sell and facilitate the division of
proceeds amongst the parties).

FDIC vs. Darlish Associates Limited - Judge Sidney P. Chapin, Dept. 4
(Kern County, Bakersfield Superior Court Case No. S1500CV270302)
1430 Norma Street, Ridgecrest, California 93555
May 2010 current January 2012
Receiver (appointed to protect and sell a 96 unit public storage facility).

Bank of Alameda vs. Willow Court Lofts - Judge Lawrence John Appel, Dept. 16
(Alameda County, Oakland Superior Court Case No. RG10508193)
1675-1695 15th Street, Oakland, California 94607
May 2010 to June 2011
Receiver (appointed over 12 work/live condominiums to protect, manage, complete entitlements, complete
construction, manage the Home Owners Association and sell the project).

Virginia Ree Winder vs. Winder- Judge Harry L. Powazek, Dept. 4
(San Diego County, San Diego Superior Court Case No. 37-2008-00150238-pr-la-nc)
2159 Foster Street, Oceanside, CA 92054
June 2010 to June 2011
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Concorde Equity II, LLC vs. Q-Black,LLC.- Judge Everett A. Hewlett, Jr., Dept. 610
(County of San Francisco, San Francisco Superior Court Case No. CGC-09-492710)
California Department of Alcoholic Beverage Control License Nos. 466969
June 2010 to September 2011
Receiver (appointed to take possession and sell a liquor license).
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Ahmed Aly vs. Bassem Yousri- Judge Barbara M. Scheper Dept. F-49
(Los Angeles County, Chatsworth Superior Court Case No. PC044086)
23235 Highway 243 Pine Cove, California 92549
June 2010 to August 2010
Receiver (appointed over a gas station, market and postal depot to protect, manage and sell).

JP Morgan Chase Bank vs. Stephen Maki - Judge David Reed, Dept. 15
(Yolo County, Woodland Superior Court Case No. CV09-1204)
204 2nd Street, Sacramento, California 95605
June 2010 to December 2010
Receiver (appointed to protect and manage an apartment building).

JP Morgan Chase Bank vs. Hanan Shiheiber - Judge George Miram, Dept. 28
(San Mateo County, San Mateo Superior Court Case No. CIV 493254)
789 El Camino Real, Burlingame, California 94010
June 2010 to September 2011
Receiver (appointed to protect and manage a 28 unit apartment building).

Budget Financial Company vs. Gregory J. Tyler – Judge Wynne Carvill, Dept 21
(Alameda County, Oakland Superior Court Case No. RG10-499443)
2401 Warring Street and 2815 Channing Way, Berkeley, CA 94704
June 2010 to March 2011.
Receiver (appointed to protect and manage two student housing projects).

Scott Ryan vs. Unique Holdings - Judge Joseph F. De Vanon, Dept. S
(Los Angeles County, Los Angeles Superior Court Case No. GC043014)
1041 W. Foothill Blvd., Arcadia, California 91006
July 2010 to September 2012
Receiver (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Alon Varsha vs. Southern Assets, LLC - Judge Barbara A. Meier Dept. 12
(Los Angeles County, Los Angeles Superior Court Case No. BC442672)
1241- 1249 West 37Th Los Angeles, California 90007
July 2010 to February 2011
Receiver (appointed to protect and manage a $4,000,000 student housing project near USC).

Robert Schieberl vs. Cynthia Johnston - Judge Judith Craddick, Dept. 9
(Contra Costa County, Martinez Superior Court Case No. C10-00642)
929 Wilson Avenue, Richmond, CA 94805
August 2010 to May 2011
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

525 East Twain, LLC vs. Western Asset Recovery, LLC – Judge Michael P. Villani, Department 17
(Clark County, Las Vegas, Nevada, Eighth Judicial District Court Case No. A-10-622404-C)
525 East Twain Avenue, Las Vegas, Nevada 89169
August 2010 to November 2011
Receiver (appointed to protect and manage a 25,791 square foot retail strip mall).

Elbert Branscomb vs. Kirtikumar Menon- Judge Verna A. Adams, Dept. J
(Marin County, San Rafael Superior Court Case No. CIV 093705)
355 Canal Street, San Rafael, CA 94901
September 2010 current
Receiver (appointed to protect and manage a 42 unit apartment building).

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Michael Chernyavsky vs. Michael Dekhtyar- Judge David P. Yaffe Dept. 86
(Los Angeles County, Los Angeles Superior Court Case No. BC440114)
Denny’s Restaurant Store 8019, 4760 East Cesar Chavez Ave., Los Angeles, CA 90022
September 2010 to January 2011
Receiver (appointed to protect, manage and operate a Denny’s Franchise Restaurant with 35 employees).

Francisco Valle vs. Isolina Valle- Commissioner Marjorie Slabach. Dept. 404
(San Francisco County, San Francisco Superior Court Case No. FDI 10-772097)
La Mexicana Bakery, 2408 24th Street, San Francisco, CA 94110
October 2010 to October 2010
Receiver (appointed to audit and varify the sales of a business).

Maria Coito vs. Manuel Andrade- Judge Luis R. Vargas, Dept. 63
(San Diego County, San Diego Superior Court Case No. 37-2010-00096393-cu-or-ctl)
936 Loring Street, San Diego, CA 92106 and 3312 Canon Street, San Diego, CA 92106
October 2010 to October 2011
Referee (appointed over an apartment building and single family home to protect, manage and facilitate the
distribution of proceeds amongst the parties).

California Bank & Trust vs. Kentucky Street, LLC- Judge David W. Reed, Dept. 15
(Yolo County, Woodland Superior Court Case No. CV 10-2173)
1500 East Kentucky Ave, Woodland, CA 95695
November 2010 to December 2011
Receiver (appointed over a 65,000 square foot industrial building to protect, manage and sell).

California Bank & Trust vs. Sarbjit Singh Kang- Judge Judith S. Craddick, Dept. 9
(Contra Costa County, Martinez Superior Court Case No. C10-00983)
425 Moraga Road, Moraga, CA 94556
December 2010 to January 2012
Receiver (appointed over a gas station, mini-mart and real estate to protect, manage and sell).

Yoon Kim vs. Christina Lee- Judge Ann I. Jones Dept. 86
(Los Angeles County, Los Angeles Superior Court Case No. BC450120)
Niko Niko Sushi Restaurant 1755 N. Vermont Avenue, Los Angeles, CA 90027
December 2010 to November 2011
Receiver (appointed to conduct a foreignsic accounting audit, draft report of findings for the Court and the parties,
and potentially run and operate the business).

Lone Oak Fund, LLC. vs. 6417 Selma, LLC - Judge Barbara A. Meiers Dept. 12
(Los Angeles County, Los Angeles Superior Court Case No. BC451743)
6417 Selma Ave., Los Angeles, California 90028
December 2010 to June 2011
Receiver (appointed to protect and manage a 27,776 square foot parking garage).




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Sushama Singapuri vs. Shashikant Singapuri - Judge Randolph E. Heubach Dept. 0
(Marin County, San Rafael, Superior Court Case No. 060341)
Tao Yuan, Blg 10, Apt 305, Shunyi County, Beijing China
Newport Business Plaza East, 4909 S. Coast Hwy. Newport, Oregon 97366
Aquarium Village, 3005 Ferry Slip Rd., Newport Oregon 97366
4979 S. Coast Hwy 101, Newport, Oregon, 97366
Newport Business Plaza West, 4926 S. Coast Hwy. Newport, Oregon
1500 E. Juana Ave, San Leandro, CA 94577
171 Siesta Way, Sonoma, California 95476
88 Great Circle Way, Mill Valley, CA 94941
1616 Cupepper, Modesto, CA, 95351
Yaquina Bay Development Corporation- Real Estate Holding Company
Facets, Inc.- Jewelry Wholesaler
December 2010 to October 2011
Receiver (appointed in a marital dissolution to protect, manage and sell businesses, real estate and other assets in
excess of 12 million dollars).

JP Morgan Chase Bank vs. Jose L. Gomez - Judge George Miram, Dept. 28
(San Mateo County, San Mateo Superior Court Case No. CIV 502198)
319 Popular Avenue, Redwood City, California 94061
January 2011 to August 2011
Receiver (appointed to protect and manage an apartment building).

Sung Lee vs. Wien Bakery LLC.- Judge Elizabeth White, Dept. 48
(Los Angeles County, Los Angeles Superior Court Case No. BC407761)
Wien Bakery, 3035 W. Olympic Blvd., Los Angeles, CA 90006
January 2011 to June 2012
Receiver (appointed to take possession, protect and operate a Bakery to pay judgment creditors).

Julius Lorenzo vs. Evelyn Bondoc- Judge David L. Minning, Dept. 61
(Los Angeles County, Los Angeles Superior Court Case No. BC405777)
620 S. Griffith Park Drive, Burbank, CA 91506
February 2011 to October 2011
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Summitbridge Credit Investments, LLC vs. Mostafa Behzadpour- Judge Mark H. Tansil, Dept. 18
(Sonoma County, Santa Rosa, California Superior Court Case No. SCV249146)
5085 Redwood Drive, Rohnert Park, CA 94928
February 2011 to December 2011
Receiver (appointed over a gas station, mini-mart, carwash, Subway and real estate to protect, manage and sell).

Win Win Alexandria Union, LLC. vs. Monica H. Hujazi, as Trustee - Judge Barbara A. Meiers Dept. 12
(Los Angeles County, Los Angeles Superior Court Case No. BC456257)
621 S. Union Ave, Los Angeles, California 90017
March 2011 to current May 2014
Receiver (appointed to protect, manage a 68 unit apartment building and bring out of the Los Angeles City Rent
Escrow Account Program (REAP)).

Win Win Alexandria Union, LLC. vs. Monica H. Hujazi, as Trustee - Judge Barbara A. Meiers Dept. 12
(Los Angeles County, Los Angeles Superior Court Case No. BC456257)
1639-1645 N. Alexandria Avenue, Los Angeles, California 90027
March 2011 to current May 2014
Receiver (appointed to protect, manage a 78 unit apartment building and bring out of the Los Angeles City Rent
Escrow Account Program (REAP)).


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Wei Liu vs. Yao Lin- Judge Frank Gafkowski Dept. S37
(San Bernardino County, San Bernardino Superior Court Case No. COVDS 1016483)
Rialto Buffet, 201 E. Baseline Road, Rialto, CA 92376
April 2011 to August 2011
Receiver (appointed to take possession, protect and operate a Chinese Food Restaurant with 15 employees).

Westamerica Bank vs. Orrin Thiessen- Judge Rene Auguste Chouteau, Dept. 17
(Sonoma County, Santa Rosa, California Superior Court Case No. SCV247962)
640-940 McClelland Drive, Windsor, California 95492
9121-9086 Windsor Road, Windsor, California 95492
501-563 David Clayton Lane, Windsor, California 95492
212-220 Windsor River Road, Windsor, California 95492
9940 Starr Road, Windsor, California 95492-8977
April 2011 to November 2012
Receiver (appointed to protect and manage a 16 unit commercial and residential units).

Araceli G. Hogan vs. Brent M. Hogan - Judge Thomas T. Lewis , Dept. 79
(Los Angeles County, Los Angeles Superior Court Case No. BD423978)
1249 W. 6th Street, Los Angeles, CA 90017
May 2011 to May 2012
Referee (appointed over a 30 unit apartment building to protect, manage, sell and facilitate the distribution of
proceeds amongst the parties).

Budget Finance Company vs. Sonya Alexander - Judge Richard Keller, Dept. D-608
(Alameda County, Oakland Superior Court Case No. RG10493759)
950 39th Street, Oakland, CA 94608
August 2010 to May 2012
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Westamerica Bank vs. Jeffrey L. Freiberg- Judge Rene Auguste Chouteau, Dept. 17
(Sonoma County, Santa Rosa, California Superior Court Case No. SCV249709)
579 1st Street West, Sonoma, California 95476
18017 Highway 12, Boyes Hot Springs, California 95416
May 2011 to June 2011
Receiver (appointed to protect and manage a mixed use commercial and residential building with a gas station).

Budget Finance Company vs. Maria Elena Alcantar - Judge Barbara A. Meiers Dept. 12
(Los Angeles County, Los Angeles Superior Court Case No. BC464432)
321 Arbor Vitae Street, Inglewood, California 90301
June 2011 to May 2012
Receiver (appointed to protect and manage a mixed use commercial and apartment building).

Lone Oak Fund, LLC vs. Rehabilitation Associates - Judge Barbara A. Meiers Dept. 12
(Los Angeles County, Los Angeles Superior Court Case No. BC464523)
1150 Laveta Terrace, Los Angeles California 90026 & 1138 Laguna Avenue, Los Angeles, CA 90026
June 2011 to December 2011
Receiver (appointed to protect and manage an apartment building).

BNJ Ultraservice, Inc. vs. Advantage Chemical, Inc., Judge Paulette Durand-Barkley Dept. 2
(Riverside County, Riverside Superior Court, Court Case No. RIC 1111221)
43471 Ridge Park Drive, Temecula CA 92590
June 2011 to October 2011
Receiver (appointed to take control, protect and manage a national cleaning and sanitation product company).




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Miguel Grandos vs. Image Auto Body & Towing, Judge George Miram-Barkley Dept. 28
(San Mateo County, San Mateo Superior Court Court Case No. CIV 503618)
2259 Spring Street, Redwood City, CA 94063
July 2011 to October 2011
Receiver (appointed to protect and manage an auto body and towing business).

Lone Oak Fund, LLC vs. Clarita Fazzari - Judge Peter Kirwan Dept. 8
(Santa Clara County, San Jose Superior Court Case No. 111CV-205508)
1610 N. 4th Street, San Jose, California 95112
July 2011 to June 2012
Receiver (appointed to protect and manage a 21,000 square foot parking facility on 1 acre of land).

Michael Coombs vs. Archibald Cunningham - Judge Peter J. Busch, Dept. 301
(San Francisco County, San Francisco Court Case No. CRF-10-510760)
1489 McAllister Street, San Francisco, California 94115
August 2011 to October 2016
Receiver (appointed over a tenant in common project to protect, manage, sell and facilitate the distribution of
proceeds amongst the parties).).

Cathy Sanford vs. Shanti Parker - Judge William F. Fahey, Dept. 78
(Los Angeles County, Los Angeles Court Case No. BC450408)
939 N. Gordon Street, Pomona, California 91768
August 2011 to May 2012
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds amongst
the parties).

Steven Aranda vs. Andrew Aranda - Judge Roy Paul, Dept. 88C
(Los Angeles County, San Pedro Court Case No. NC043879)
760 W. 10th Street, San Pedro, California 90731
August 2011 to September 2012
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds amongst
the parties).

Hilda Violeta Riofrio vs. Gustavo Beltran - Judge Mary Ann Murphy, Dept. 25
(Los Angeles County, Los Angeles Court Case No. BC455335)
1204 S. Normandie Ave, Los Angeles, California 90006
September 2011 to November 2012
Referee (appointed over an apartment building to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Lone Oak Fund, LLC vs. Artisan Lofts Associates, LTD. - Judge Barbara A. Meiers Dept. 12
(Los Angeles County, Los Angeles Superior Court Case No. BC470376)
1745-1759 Glendale Boulevard, Los Angeles California 90026
September 2011 to December 2011
Receiver (appointed to protect and manage a 30,711 industrial/commercial complex).

Oxford Mortgage Funds, L.P. vs. Garden View Professsional Center, LLC- Judge Thomas P. Nugent, Dept. 30
(San Diego County, San Diego Superior Court Case No. 37-2011-58115-cu-or-ctl)
499 N. El Camino Real, Encinitas, CA 92024
September 2011 to May 2014
Receiver (appointed to protect and manage 31,423 square foot retail and medical office building).

Nghia T. Nguyen vs. Mark H. Nathan- Judge Sheila Fell, Dept. C22
(Orange County, Santa Ana Superior Court Case No. 30-2011-00473056)
34422 Via Gomez, Dana Point, California 92624
121 Loma Lane, San Clemente, CA 92672
October 2011 to December 2011
Receiver (appointed to protect and manage two condominium projects).
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Anthony Labrosciano                           Document
                       vs. I Seed Films Incorporated        57-3RolfFiled
                                                       - Judge        M. Treu06/30/17
                                                                                  Dept. 58 Page 21 of 42
(Los Angeles County, Los Angeles Superior Court Case No. BC 459930)
August 2011 to May 2012
Receiver (appointed to protect, manage, sell five movie scripts, and facilitate the division of proceeds amongst the
parties).

Stuart Smith vs. David Jewett - Judge Donna Gunnell Garza, Dept. S-38
(San Bernardino County, San Bernardino Superior Court Case No. CIVDS 1015060)
24950 Highland Drive, Crestline, CA 92325
November 2011 to July 2012
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Michael J. Kelley, Jr. vs. Livermore Acres, Inc. - Judge F Clark Sueryres, Dept. 41
(San Joaquin County, Stockton Superior Court Case No. 39-2010-00253689-CU-MC-STK)
The Manteca Inn, 150 Northwoods Ave., Manteca, CA 95336
1405 Yosemite Ave., Manteca, CA 95336
293 E. Wetmore Ave., Manteca, CA 95337
301 E. Wetmore Ave., Manteca, CA 95337
29211 Mission Blvd., Hayward, CA 94544
2164 Lathrop Road, Lathrop, CA 95330
18020 N. Highway 88, Lockeford, CA 95237
November 2011 current
Receiver (appointed to protect, manage and sell a 50 unit hotel, commercial properties and vacant land. Also,
conduct a creditor’s claims procedure and dissolution of the corporation).

Community Commerce Bank vs. The Baptist Church Of The New Covenant In Jesus Christ- Judge Ana
Maria Luna, Dept. 1
(Los Angeles County, Downey Superior Court Case, No. 11C00563)
10843-10857 Kenney Street, Norwalk, CA 90650
November 2011 to December 2011
Receiver (special purpose receivership to handle the disposition of personal property and establish commercial
rental values to be included in the court’s judgment).

Hem Gupta vs. Narendra Gupta - Judge Valerie Adair, Dept. 21
(Clark County, Las Vegas, Nevada Superior Court Case No. A-10-624533-C)
1325 E. Hacienda Avenue, Las Vegas, Nevada 89119
November 2011 current May 2012
Referee (appointed over an apartment building to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

First National Bank of Northern California vs. Anthony Caruso - Judge Patricia Lucas Dept. 2
(Santa Clara County, San Jose Superior Court Case No. 111CV213735)
144-148 E. Santa Clara Street, San Jose, California 95113
22 N. White Road, San Jose, California 95127
November 2011 to December 2012
Receiver (appointed to protect and manage a retail strip mall and a mixed use retail/residential property).

Joan Brown vs. Massoletti Cheek Financial, Inc.- Judge Lynn Duryee, Dept. L
(Marin County, San Rafael, California Superior Court Case No. 025229)
December 2011 to current
Receiver (post judgment appointment to sell assets to collect on a $330,000 judgment.)

Kaufman Kaufman & Miller LLP vs. Anthony Sestanovich - Judge John Shepard Wiley, Jr., Dept. 50
(Los Angeles County, Los Angeles Court Case No. BC424418)
11027 Blix Street, North Hollywood, California 91602
April 12, 2011 to December 2012
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds amongst
the parties).
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Budget Funding, LLC vs. Ali A. Saleh- Judge William A. Mayhew, Dept. 21
(Stanislaus County, Modesto Superior Court Case No. 670618)
410-416 6th Street, Modesto, CA 95354
January 2012 to August 2012
Receiver (appointed to protect and manage two apartment buildings).

Cornerstone Diversity, LLC vs. Jacob Khazanovich- Judge David I. Brown, Dept. 53
(Sacramento County, Sacramento Superior Court Case No. 34-2011-00097586)
Assessor Parcel Number 220-0420-021, Sacramento, California 95842
January 2012 to August 2012
Referee (appointed over 6.28 acres of land to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Maria Velasquez vs. Francisco Nunez- Judge Kevin C. Brazile, Dept. 20
(Los Angeles County, Los Angeles Superior Court Case No. BC424013)
11819 Civic Center Drive, Hawaiian Gardens, California 90716
January 2012 to January 2015
Referee (appointed over an apartment building to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Esther Juarez vs. Jorge Martin De Anda- Judge Harold Kahn, Dept. 302
(San Francisco County, San Francisco Superior Court Case No. CGC-09-493126)
1051 Shotwell Street, San Francisco, California 94110
February 2012 to July 2012
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Corvorn LLC vs. Eileen Long, Judge Loretta Giorgi, Dept. 302
(San Francisco County, San Francisco Superior Court Case No. CPF-09-509680)
1568 Haight Street, San Francisco, CA 94117
February 2012 to May 2013
Receiver (post judgment appointed to protect, manage, operate and sell a restaurant and bar).

Bank of America vs. Mitra K. Sadeghzadeh- Judge Paul M. Marigonda, Dept. 5
(Santa Cruz County, Santa Cruz Superior Court Case No. CV173146)
1455 Freedom Blvd., Watsonville, CA 95076
February 2012 to December 2012
Receiver (appointed over a gas station, mini-mart and real estate to protect, manage and sell).

Lone Oak Fund, LLC vs. Pacific Interventure, Inc. - Judge Barbara A. Meiers Dept. 12
(Los Angeles County, Los Angeles Superior Court Case No. BC482088)
10217-10225 Hillhaven Ave., Tujunga, CA 91402
April 2012 to January 2013
Receiver (appointed to protect and manage a 27 unit apartment building).

Occidential Resources vs. Undisclosed Company- Judge John Ditsworth, Dept. 203
(Maricopa County, Mesa Superior Court Case No. (Provided upon request)
Phoenix, Arizona
March 2012 to November 2012
Receiver (appointed to protect and manage a nationwide precious metals company).

Wells Fargo Bank vs. Golden Gate Community Health, Judge Harold Kahn, Dept. 302
(San Francisco County, San Francisco Superior Court Court Case No. CGC-12-519439)
815 Eddy Street, San Francisco, CA 94109
March 2012 to August 2012
Receiver (appointed to protect, manage and sell an office building that was owned by Planned Parenthood).

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Lone Oak Fund, LLC. vs. Benyam Mulugeta- Judge John True, Dept. 510
(Alameda County, Oakland Superior Court Case No. RG12-634973)
The Lake Merritt Hotel, 2332 Harrison Street, Oakland, CA 94612
June 2011 to May 2013
Receiver (appointed to protect, manage and operate a 156 unit historic hotel).

Jerry Manpearl vs. Eric Fintzi, Judge Allan J. Goodman, Dept. P
(Los Angeles County, Santa Monica Superior Court Case No. SC113489)
2619 Exposition Boulevard, Los Angeles CA 90018
July 2012 to March 2013
Receiver (post judgment appointed to take possession and sell rare African Art).

CERF SPVI, LLC vs. Cherokee Simeon Ventures, I, LLC- Judge Judith A. Sanders, Dept. 60
(Contra Costa County, Martinez Superior Court Case No. C12-00284)
Campus Bay, 4677 Meade Street, Richmond, CA 94804
July 2012 to October 2014
Receiver (appointed to protect, manage and monitor a Superfund Environmental Clean-up for an 85 acre
biotechnology property on the San Francisco Bay).

Patrick O’Loughlin vs. P.O.L. Incorporated- Judge William M. Monroe, Dept. C16
(Orange County, Santa Ana Superior Court Case No. 30-2011-00473932)
1465 Hillcrest, Laguna Beach, CA 92651
285,287,289,291 San Joaquin, Laguna Beach, California 92651
July 2012 to November 2012
Referee (appointed over a single family home and an apartment building to protect, manage, sell and facilitate the distribution
of proceeds amongst the parties).

Bank of New York Mellon vs. Peter Hak Pe- Judge David I. Brown, Dept. 53
(Sacramento County, Sacramento Superior Court Case No. 34-2012-00124519)
8651 Folsom Boulevard, Sacramento, California 95826
July 2012 to December 2013
Receiver (appointed over a gas station and mini-mart to protect, manage and sell).

Van My Lieu vs. Phuong My Lieu- Judge Edward Simpson, Dept. NER
(Los Angeles County, Pasadena Superior Court Case No. GC048781)
2723 Pine Street, Rosemead, California 91770
September 2012 to October 2012
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

White Zuckerman vs. Mark E. Lipp, Judge Maria E. Stratton, Dept. NWT
(Los Angeles County, Van Nuys Superior Court Case No. LC093932)
Corporate Entity: ALJA, LLC.
September 2012 to September 2012
Receiver (post judgment appointed to sell a corporate ownership interest to satisfy a judgment).

Bank of New York Mellon vs. Sha Capital, Inc.- Judge Laurel S. Brady, Dept. 31
(Contra Costa County, Martinez Superior Court Case No. CIVMSC 12-01134)
Martinez Car Wash and Union 76 Gas Station, 3950 Alhambra Avenue, Richmond, CA 94533
September 2012 to June 2015
Receiver (appointed over a car wash and gas station to protect, manage, operate and sell).

B Squared, Inc. vs. Renato Ferrer- Judge Edward Simpson, Dept. NE-R
(Los Angeles County, Pasadena Superior Court Case No. GC 050129)
1415, 1425 and 1435 N. Garfield Avenue, Pasadena, CA 91104
September 2012 to February 2016
Receiver (appointed to protect, manage and operate a senior assisted living facility).
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Patrick BighamCase    3:14-cv-03630-LB
                 vs. Jo                     Document
                        Ann Bigham- Judge James           57-3 Dept.
                                                    L. Stoelker,  Filed1806/30/17 Page 24 of 42
(Santa Clara County, San Jose Superior Court Case No. 112-CV-222194)
1416 Bellville Way, Sunyvale, California 94087
September 2012 to April 2013.
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Century City Medical Plaza, ETC vs. Undisclosed Medical Practice, Judge Joseph S. Biderman,
(Los Angeles County, Los Angeles Superior Court Case No. SC097659)
Corporate Entity: Joint Effort Medical Wellness
October 2012 to current
Receiver (post judgment appointed to protect and operate a physical therapy clinic).

Marriage of Ismatlyan Volga & Shahoian Hamlet, Department 2B, Teresa Beaudet
(Los Angeles County, Los Angeles Superior Court Case No. BD512364)
Haykshen Market, 310 E. California Ave., Glendale, California 91206
October 2012 to December 2012
Receiver (family law receivership-appointed to verify cash sales of a market and provide an accounting to the Court and
parties).

Colfin Bow Funding B, LLC vs. Calstar Investments, LLC- Judge William D. Palmer, Dept. 15
(Kern County, Bakersfield Superior Court Case No. S-1500-CV-277435 WPD)
Apna Plaza, 228-318 White Lane, Bakersfield, California 93307
October 2012 to November 2013
Receiver (appointed over a Shell gas station and 103,000 square foot retail center to protect, manage, and sell).

Bank of New York Mellon vs. Paul Gosal dba Valley Arco- Judge B.W. McNatt, Dept. 42
(San Joaquin County, Stockton Superior Court Case No. 39-2012-00284697 CU-OR-STK)
Valley ARCO Gas Station, 16 East Harding Way, Stockton, CA, 95204
October 2012 to December 2013
Receiver (appointed over a gas station and c-store to protect, manage, operate and sell).

Karim and Liana Tahir vs. Jimmy Budihalim and Tara Tahir, Judge Ernest H. Goldsmith, Dept. 302
(San Francisco County, San Francisco Superior Court Case No. CGC-10-504897)
1607 Milvia Street, Berkeley, CA 94709
2321 Blake Street, Berkeley, CA 94704
November 2012 to September 2013
Receiver (appointed over two apartment building to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

In re: Belcorp Resources, Inc.- Judge Bruce A. Markell, Foley Courtroom 3 (third floor)
(Clark County, Las United States Bankruptcy Court District of Nevada Case No. BK-S-12-16650-bam)
Chevron Gas Station and Real Estate, 3685 N. Moapa Valley Blvd., Logandale, NV, 89021
November 2012 to March 2013
Chapter 11 Trustee (appointed over a gas station, c-store, car wash and commercial real estate to protect, manage,
operate, sell and payoff creditors.

Bank of New York Mellon vs. Shamsuddin Faquiryan- Judge Bob W. McNatt, Dept. 42
(San Joaquin County, Stockton Superior Court Case No. 39-2012-00285494 CU-OR-STK)
Lathrop Chevron Gas Station, 140 Lathrop Road, Stockton, CA, 95330
November 2012 to May 2013
Receiver (appointed over a gas station and c-store to protect, manage and sell).

Ann F. Turquand vs. Susan Turquand - Judge Michael Paul Linfield, Dept. 10
(Los Angeles County, Los Angeles Court Case No. BC470646)
212 Whittley Ave, Avalon, California 90704
February 2013 to September 2013
Referee (appointed over a single home on Catalina Island to protect, manage, sell and facilitate the distribution of
proceeds amongst the parties).
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John H. Sibbison vs. Christin Trimpi- Judge Cary H. Nishimoto, Dept. SW-E
(Los Angeles County, San Pedro Superior Court Case No. YC062189)
Malibu California APN: 4453-001-022
August 2012 to current
Receiver (post judgment appointed to protect, manage and sell land in Malibu California for the payment of a
creditor).

Miguel L. Arreola vs. Brenda Black- Judge Robert H. O’brien Dept. 86
(Los Angeles County, Los Angeles Superior Court Case No. BC496157)
6812 11th Avenue, Los Angeles CA 90043
March 2013 to March 2014
Receiver (appointed to protect and manage a 26 unit apartment building).

City National Bank vs. Monarch/Philadelphia, LLC- Judge Barbara Meiers, Dept. 12
(Los Angeles County, Los Angeles Superior Court Case No. BC447913)
12015 and 12031 Philadelphia Street, Whittier, CA 90601
April 2013 to October 2014
Receiver (appointed over a 100,125 square foot industrial manufacturing facility to protect, manage and sell).

Michael Kizhner vs. Tatiana Kuniansky- Judge David J. Cowan, Dept. F
(Los Angeles County, Los Angeles Superior Court Case No. SD031611)
April 2013 to December 2014
Receiver (appointed in over a marital dissolution to take possession of safety deposit boxs and multiple storage
lockers of fine art).

Luz Camacho vs. Rogelio Jimenez- Judge Ramona G. See, Dept. M
(Los Angeles County, Torrance Superior Court Case No. YC064429)
4065 W. 135th Street, Torrance, CA 90250
April 2013 to May 2014
Referee (appointed over an apartment complex to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Emmanuel B, David vs. Marlene Z. Robertson - Judge Edward Simpson, Dept. NE-R
(Los Angeles County, Pasadena Superior Court Case No. GC050829)
(Address upon request) Pasadena, California 91103
April 2013 to current
Receiver (appointed to manage the real estate for 129 bed skilled nursing facility).

Louis Dimaggio vs. Diane Dimaggio- Judge Judge David B. Flinn, Dept. 6
(Contra Costa County, Martinez Superior Court Case No. CIVMSC 11-00890)
1785 Rockwood Place, Concord, California 94521
May 2013 to June 2014
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Joyce P. Cox vs. C.C. Ryder- Judge Harvey Silberman, Dept. K
(Los Angeles County, Pasadena Superior Court Case No. GD 050651)
1324 West 37th Drive and 1225 West Exposition Blvd, Los Angeles, CA. 90007
April 2013 to June 2013
Receiver (appointed to protect and manage an apartment building).

Pride 76, Inc. vs. H & C Energy- Judge Perry Parker, Dept. B
(Sutter County, Yuba City Superior Court Case No. CVCS13-1142)
76 Food Mart, 1466 Colusa Highway, Yuba City, CA, 95993
June 2013 to June 2014
Receiver (appointed to protect and manage, operate a gas station and c-store).

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Wells Fargo Bank vs. Mavic Ramos, Judge Robert D. McGuiness, Dept. 22
(Alameda County, Oakland Superior Court Case No. HG13682822)
389 Juana Avenue, San Leandro, CA 94557
July 2013 to August 2014
Receiver (appointed to perform an audit of a 28 bed assisted living facility to make sure the facility was financial sound
and in compliance with California Department of Social Services regulations.)

Sovereign Asset Management , Inc. vs. Lake Arrowhead Treatment Center, Inc., Judge Steven S. Streger, Dept. C16
(Orange County, Santa Ana, Superior Court Case No. 30-2013-00627969-CU-BC-CJC)
975 Nadelhorn Drive, Lak Arrowhead, CA 92352
414 Darfo, Crestline, CA 92325
373 Emerald Drive, Lake Arrowhead Villa Road, Lake Arrowhead, CA 92352
28914 Hook Creek Road, Cedar Glen, CA 92321
815 Arrowhead Villa Road, Lake Arrowhead, CA 92352
July 2013 to May 2014
Receiver (appointed in a partnership dispute over five drug and alcohol abuse centers to control revenue, conduct an
accounting of past operations, distribute funds amongst the different locations and provide reports to the court and the
parties.)

Iris Brandt vs. Lelia Lee Fountain- Judge Julia C. Kelety, Dept. PC-2
(San Diego County, San Diego Superior Court Case No. 37-2011-00150130-PR-LA-NC)
4305 E. Overlook Drive, San Diego, California 92115
August 2013 to March 2014
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

CitiMortgage, Inc. vs. Mark E. Yeadaker - Judge George Miram, Dept. 28
(San Mateo County, San Mateo Superior Court Case No. CIV 523312)
81, 83, 85 Elder Lane, Pacifica, CA 94044
85 Clarendon Road, Pacifica, CA 94044
August 2013 to April 2015
Receiver (appointed to protect and manage a multi-family rental property).

Reginaldo Pena vs. Carlos R. Peraza - Judge John G. Evans, Dept. P51
(Riverside County, Riverside Superior Court Case No. INS1202590)
Liquor License 465641 located at 68449 Peraza Road, Cathedral City, CA 92234
August 2013 to August 2014
Receiver (post judgment appointment to take control and sell a liquor license to pay a judgment holder).

Lone Oak Fund, LLC. vs. Innocenti, LLC., Judge Harry M. Dorfman, Dept. 501
(San Francisco County, San Francisco Superior Court Case No. CGC-13-533770)
2017 to 2021 Powell Street, San Francisco, CA 94133
September 2013 to March 2014
Receiver (appointed to protect, and manage an apartment building).

Wells Fargo Bank vs. Baird Niece Corporation, Judge Melinda Reed Dept. 1
(Tulare County, Visalia Superior Court Case No. VCU 252795)
60 E. Street, Porterville, CA 93257
September 2012 to March 2015
Receiver (appointed over a citrus grove and produce packing business to protect, manage, operate and sell).

Douglas Turner vs. Pierre Moeini- Judge Russell S. Kussman, Dept. Q
(Los Angeles County, Van Nuys Superior Court Case No. LC 097846)
22456 Ventura Boulevard, Woodland Hills, CA 91364
September 2013 to June 2014
Receiver (appointed to protect and manage a bar and restaurant and provide accounting services).

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Stohlman & Rogers,    Inc. vs. Abdul Rauf- Document
                                               Judge Perry 57-3
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(Sutter County, Yuba City Superior Court Case No. CVCS10-1460)
Liquor license 436524 located at 720 5th Street, Arbuckle, CA 95912
September 2013 to November 2014
Receiver (post judgment appointment to take possession of a liquor license and sell to pay judgment).

Charlene Ayodele vs. Emmanuel Ayodele- Judge Robert E. Willett, Dept. 43
(Los Angeles County, Los Angeles Superior Court Case No. BD538391)
11126 S. Main Street, Los Angeles, CA 90061
September 2013 to January 2014
Receiver (appointed to protect and manage a medical practice and sell real estate to pay spousal support).

Amy Nabi vs. Hatif Habib Nabi- Judge Patrick A. Cathcart, Dept. 83
(Los Angeles County, Los Angeles Superior Court Case No. BD 274538)
9009 Laurel Canyon Blvd., Sun Valley, CA 91352
September 2013 to May 2015
Receiver (post judgment appointed to operate a marble and slate company to pay spousal support).

Bank of The West vs. Red Hill Plaza, LLC- Judge David Chaffee, Dept. C20
(Orange County, Santa Ana Superior Court Case No. 30-2013-00676634-CU-MC-CJC)
1400 Reynolds Avenue, Irvine, CA 92614
September 2013 to September 2014
Receiver (appointed over a medical office building to protect, manage, sell and facilitate the distribution of proceeds amongst
the parties).

Chris Chen vs. Frederick Staurt Franz- Judge Mark H. Pierce, Dept. 9
(Santa Clara County, San Jose Superior Court Case No. 112-CV-237304)
349-357 Richmond Avenue, San Jose, California
September 2013 to December 2014
Referee (appointed over an apartment building to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Karen Timmes vs. Daniel Armijo – Judge Brian Gasdia, Dept. F
(Los Angeles County, Los Angeles Court Case No. VC62695)
2805 Nebraska Avenue, South Gate, California 90280
September 2013 to August 2014
Referee (appointed over an apartment building to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

City of Culver vs. Anthony Pappas- Judge James C. Chalfant, Dept. 85
(Los Angeles County, Los Angeles Superior Court Case No. BS142953)
4275 to 4277 Revere Place, Culver City, CA 90232
October 2013 to November 2014
Receiver (appointed as a Health and Safety Receiver to bring a duplex into compliance with building and fire
codes).

Security Lending, LTD vs. TK & EF- Judge Margaret Miller Bernal, Dept. C
(Los Angeles County, Norwalk Superior Court Case No. VC063552)
6136 to 6142 Walker Ave., Maywood, CA 90270
October 2013 to March 2004
Receiver (appointed over an industrial building to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Chris Chen vs. Frederick Staurt Franz- Judge Laurel Brady, Dept. 31
(Contra Costa County, Martinez Superior Court Case No. C12-02818)
2666 Taylor Road, Bethel Island, California 94511
September 2013 to February 2015
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).
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Galya TarmuCase     3:14-cv-03630-LB
               vs. Aurora                   Document
                           Loan Servicing Inc.-            57-3 Stone,
                                                 Judge Richard   Filed Dept.
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(Los Angeles County, Santa Monica Superior Court Case No. SC101815)
108 Paloma Avenue, Venice, CA 90291
October 2013 to October 2015
Receiver (appointed over an apartment building to protect and manage).

John Thomas vs. Ben Yadegarian - Judge James C. Chalfant, Dept. 85
(Los Angeles County, Los Angeles Superior Court Case No. 10K21121)
Green Room Billiards, 3458 N. San Fernando Road, Los Angeles, CA 90065
November 2013 to October 2014
Receiver (Post judgment receiver appointed to sell ownership stock certificates to pay judgment).

Thomas Balsamo vs. John Balsamo- Judge Randa Trapp, Dept. C-70
(San Diego County, San Diego Superior Court Case No. 37-2013-00050649-CU-OR-CTL)
825 Granger Street, San Diego, California 92154
December 2013 to February 2015
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Daniel Israel vs. David Israel- Judge Gerald Rosenberg, Dept. K
(Los Angeles County, Santa Monica Superior Court Case No. SC120612)
1109 Wooster Street, CA 90035
December 2013 to November 2014
Receiver (appointed over an apartment building to protect, manage and sell. Also appointed to marshal books and
records and create an accounting for 28 years).

Edward L. Perez vs. Theodore Wiesand- Judge Robert H. O’Brien, Dept. 86
(Los Angeles County, Los Angeles Superior Court Case No. BC465205)
236-238 S. Avenue 55, Los Angeles, CA 90042
December 2013 to current
Receiver (appointed over two apartment buildings to protect and manage).

Alicia Marie Manlove vs. David Kenneth Warner- Judge Ross M. Klein, Dept. S-27
(Los Angeles County, Long Beach Superior Court Case No. NC058906)
2710 Fanwood Avenue, Long Beach, California 90815-1332
December 2013 to October 2014
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Oxford Mortgage Funds, L.P. vs. Grace S. Chizar – Judge Ronald E. Quidachay, Dept 501
(San Francisco County, San Francisco Superior Court Case No. CGC 13-534775)
2901 Channing Way, Berkeley, CA 94704
December 2013 to March 2015
Receiver (appointed to protect and manage a student housing project).

City of Fontana vs. Jose Luis Montoy- David Cohn, Dept. S35
(San Bernardino County, San Bernardino Superior Court Case No. CIVDS1312447)
11374 Dogwood Court, Fontana, CA 92415
December 2013 to January 2014
Receiver (appointed as a Health and Safety Receiver to bring a single family home into compliance with building
codes).

RES-CA Nadina Groves, LLC vs. Vicki Bird- Judge Theodor C. Albert- Central Bankruptcy Court
(Orange County, Santa Ana Bankruptcy Court Case No. 8:11-bk-23508-TA)
3512 Beach Road, Capistrano Beach, CA 92624
Betram Yacht/Super Bird, 34555 Casitas Place, Dana Point, CA 92629
December 2013 to October 2014
Substitute Custodian (appointed to assist the United States Marshal and taking possession of personal property at
a beach front estate and a 57 foot yacht to pay a multi-million dollar judgment).
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Norastine Ghee vs. Alexis Pleasant- Judge Richard E. Rico, Dept. 17
(Los Angeles County, Los Angeles Superior Court Case No. BC477862)
1081 Sycamore, Los Angeles CA 90019
3010 W. Martin Luther King Blvd., Los Angeles, CA 90008
December 2013 to December 2014
Referee (appointed over two apartment buildings to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Lone Oak Fund, LLC. vs. South California LLC- Judge Timothy Taylor, Dept. C-72
(San Diego County, San Diego Superior Court Case No. 37-2013-00078556-CU-OR-CTL)
7421 Draper Avenue, La Jolla, CA 92037
1205 Blinas Bay Court, Chula Vista, CA 91913
524 Reisling Terrace, Chula Vista, CA 91913
December 2013 to July 2014
Receiver (appointed over two single family homes and an apartment building to protect and manage the
properties).

Mechanics Bank vs. Almaden Associates, LLC- Judge George Spanas, Dept. 34
(Contra Costa County, Martinez Superior Court Case No. C14-00010)
7950 Dublin Blvd., Dublin, CA 94568 (70,110 square foot office building)
18120 Bollinger Canyon Road, San Ramon, CA 94583 (93,730 square foot industrial/office building)
1609 Lawrence Road, Danville, CA 94506 (3.27 acres of undeveloped land)
APN: 2011-010-035 City of San Ramon, CA (Two residential homes)
January 2014 to July 2014
Receiver (appointed to protect, manage and operate a portfolio of office, industrial, undeveloped land and
residential homes).

Lindsay Williams vs. Joe Reynolds, M Bar & Restaurant, Judge Michael Harwin, Dept. M
(Los Angeles County, Van Nuys Superior Court Case No. BC 477082)
1253 N. Vine, LA CA 90038
January 2014 to February 2014
Receiver (post judgment appointed to secure and sell a liquor license).

Christopher Kirk vs. Tamila Kirk - Judge Kenneth Fernandez, Dept. F-401
(Riverside County, Riverside Superior Court Case No. RID1302628)
Satewide Towing, 190 N. Main Street, Riverside, CA 92501
November 2013 to May 2015
Receiver (family law appointment to marshal and account for funds of a towing business. Also to conduct an
inventory and appraisal of the business).

Flag City ARCO Station- Debtor Yousif H. Halloum- Judge Christopher M. Klein, Dept. 3-200
(United States Bankruptcy Court- Eastern District of California No. 2012-21477-C-11)
Flag City ARCO, 14931 N. Flag City Blvd., Lodi, CA, 95242
February 2014 to August 2014
Project Manager for the Chapter 7 Trustee (appointed to protect, manage, operate a gas station, carwash,
restaurant and c-store).

Colfin Bow Funding LLC vs. John M. Coyle- Judge Philip A. Champlin, Dept. C-10
(Solano County, Fairfield Superior Court, Case, No. FCS 042530)
740 Texas Street, Fairfield, CA 94533
March 2014 to March 2015
Receiver (appointed over a 11,112 square foot historic office and retail building to protect, manage, sell and
facilitate the distribution of proceeds amongst the parties).


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Alan J. Villarine/Petro-Val vs. Clayton Ludington/Petro-Lud- Judge David R. Lampe, Dept. 11
(Kern County, Bakersfield Superior Court, Case, No. S-1500-CV-281130-DRL)
Maricopa Oil Lease Contract in Maricopa California
Edison Oil Lease Contract in Edison California
April 2014 to September 2015
Receiver (appointed to oversee and dissolve a business partnership that owned and operates two active oil
producing fields).

Phyllis Sue Solomon vs. Jocelyn S. Korchak- Judge Robert L. Hess, Dept. 24
(Los Angeles County, Los Angeles Superior Court Case No. BC 509300)
970 N. Serrano Avenue, Los Angeles, CA 90029
5432 Barton Avenue, Los Angeles, CA 90038
April 2014 to February 2015
Referee (appointed to oversee appraisals of two rental income properties and make recommendations to the parties
and the court regarding equalization payments to partition properties).

HSBC Bank vs. Dara Petroleum, Inc.- Judge William B. Shubb, Dept. 24
(United States District Court, Eastern District of California Case No. 2:09-CV-02356-WBS-EFB)
3499 El Camino Avenue, Sacramento, CA 95821
May 2014 to current
Receiver (appointed to protect, manage, and conduct a levy sale of a gas station and c-store).

Reginald Wayne Clark vs. Pacific Management & Research Corp.- Judge Bryan F. Foster, Dept. S26
(San Bernardino County, San Bernardino Superior Court Case No. CIVDS1408584)
430 N. Vineyard Avenue, Suite 320, Ontario, California, 91764
June 2014 to July 2016
Receiver (appointed to take possession of a corporation that provided investment services in real property tax liens
secure and sell assets, make distributions to investors).

Ricardo Perez vs. Juana Perez- Judge Armen Tamzarian, Dept. CE 84
(Los Angeles County, Los Angeles Superior Court Case No. BD414421)
Bank of America Safety Deposit Box
July 2014 to May 2015
Receiver (appointed to take possession of $105,000 of cash in safety deposit box and make court instructed
payments. Additionally, appoint to protect and operate a pallet business- R & R Pallets).

2012-SIP-1 Ventures, LLC vs. Sonora Petroleum, Inc.- Judge Charles D. Wachob, Dept. 42
(Placer County, Roseville Superior Court Case No. S-CV-0034285)
2990 Foothills Boulevard, Roseville, CA 95747
July 2014 to November 2016
Receiver (appointed to protect and manage a retail strip mall).

Laren Ellsworth vs. Ryan Ellsworth- Judge Douglas R. Holt
(Graham County Arizona, Safford Superior Court Case No. CV2014-00056)
25 Single Family Homes throughout Phoenix and Northern Arizona
July 2014 to June 2015
Receiver (appointed to protect, manage, and sell 25 single family homes throughout Phoenix and Northern
Arizona and dissolve a family trust).

Lone Oak Fund vs. Gold River Valley, LLC.- Judge Luis A. Lavin, Dept. 82
(Los Angeles County, Los Angeles Superior Court Case No. BC552238)
650 to 652 Lake Avenue, Pasadena, CA 91106
September 2014 to April 2016
Receiver (appointed to protect and manage a 12 unit condominium complex that was being utilized as a rental
income property).


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Ryan Mak & Norris Mak vs. M.S.W. Enterprises, Inc. - Judge Ernest Goldsmith, Dept. 302
(San Francisco County, San Francisco Court Case No. CGC-13-530302)
1608 Polk Street, San Francisco, California 94109
August 2011 to February 2015
Receiver (appointed to protect, run and operate a sushi restaurant).

SBDL Productions,LLC vs. Joseph Brestz- Judge Mark Borenstein, Dept. 44
(Los Angeles County, Los Angeles Superior Court Case No. BC462635)
September 2014 to July 2015
Receiver (Post judgment receiver to sell share of Digital Development Group Corp. to satisfy judgment).

Craig Goldman vs. Gary Pesner.- Judge Craig Griffin, Dept. 17
(Orange County, Orange County Superior Court Case No. 30-2104-00712683)
650 to 652 Lake Avenue, Pasadena, CA 91106
October 2014 to current
Receiver (appointed to collect and safeguard rents for an 18 apartment units, evaluated partnership interests and
provide recommendations for dissolution or buy-out).

Louis and Alice Ross Family Trust.- Judge Michael Levanas, Dept. 5
(Los Angeles County, Los Angeles Superior Court Case No. BP154893)
3520, 3521, 3525, 3545, 3547, 3551 Lynwood Road, Lynwood CA 90262
11615, 11607 Lewis Street, Lynwood CA 90262
October 2014 to current
Receiver (appointed to take control and operate trust).

Lone Oak Fund, LLC vs. Capital Advantage LLC, Judge Garrett L. Wong, Dept. 501
(San Francisco County, San Francisco Superior Court Case No. CGC-14-542184)
117 Post Street, San Francisco, CA 94108
October 2014 to February 2015
Receiver (appointed to protect and manage 18,000 square foot class A office building).

Estella M. Villacorta vs. Eugenie M. Villacorta.- Judge Geoffrey T. Glass, Dept. C-32
(Orange County, Orange County Superior Court Case No. 30-2104-00735578)
8288 East Oak Ridge Circle, Anaheim, CA 92808
October 2014 to August 2015
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Jennifer Stoff vs. Michael Stoff- Judge Michael S. Groch, Dept. F-1
(San Diego County, San Diego Family Law Court Case No. D530163
6749 Top Gun Street, San Diego, CA 92126
721-723, 725 Cohasset Court, Pacific Beach, CA 92109
6737 Aqueduct Court, San Diego, CA 92119
7661 Girard Avenue, La Jolla, CA 92037
3535 Linda Vista Drive #221, San Marcos, CA 92078
Highway 79, Warner Springs, CA 92086 (APN 114-140-39)
9424 Abraham Way, Santee, CA 92071
9711 Mission Gorge Road, Santee, CA 92071
2810 Mission Blvd. #B, San Diego, CA 92109
8325 Camino Santa Fe, San Diego, CA 92121
501 E. Stassney Lane, Augstin, Texas 78745
532 N. First Street, Tucson, Arizona 85719
October 2014 to current
Receiver (appointed over a marital estate to manage estate, protect properties, manage properties, and sell property
with the consent of the parties.)


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2012-SIP-1 Ventures, LLC vs. Fox Oil, Inc. and Gurraj S. Grewal- Judge Raymond M. Cadei, Dept. 54
(Sacramento County, Sacramento Superior Court Case No. 34-2012 00163704)
8901 Madison Avenue, Fair Oaks, CA 95628
October 2014 to October 2015
Receiver (appointed to protect, manage and sell a gas station and c-store).

David Weinstein vs. Lawrence Baldasano/Village Square Realty- Judge Rebecca Connolly, Dept. 4
(Santa Cruz County, Santa Cruz Superior Court Case No. CV180289)
23505 Schulties Road, Los Gatos, CA 95033-8712
October 2014 to July 2015
Receiver (appointed to protect and manage a single family home).

Lone Oak Fund, LLC vs. Karen Louise Federoff- Judge Laura A. Matz, Dept. NCGE
(Los Angeles County, Glendale Superior Court Case No. EC063079)
621, 629 W. Colorado Blvd., Monrovia, California 91016
214 Grand Avenue, Monrovia, California 91016
October 2014 to February 2015
Receiver (appointed to protect and manage a portfolio of properties consisting of single family homes).

BMR-Bunker Hill LP vs. San Diego Regenerative Medicine Institute- Judge Timothy Taylor, Dept. C-72
(San Diego County, San Diego Superior Court Case No. 37-2012-00042147-CL-UD-CTL)
San Diego County
November 2014 to August 2016
Post Judgment Receiver (appointed to sell company assets, patents, and intellectual properties to pay judgment).

The People Of The State Of California vs. Alvernaz Partner, LLC- Judge Dennis Hayashi, Dept. 522
(Alameda County, Oakland Superior Court Case No. RG14737036)
8603 and 8701 Hillside Street, Oakland, CA 94605
November 10, 2014 to August 2015
Receiver (appointed to evaluate the property for compliance with state and local laws regarding habitability and
implement a plan to resolve all code violations and eliminate gang and illegal activities at the property for this 72
unit apartment building).

McWhirter Distribution Co., Inc. vs. Gasprom, Inc.- Judge Frank Johnson, Dept. T
(Los Angeles County, Van Nuys Superior Court Case No. LC 080930)
December 2014 to January 2015
Receiver (Post judgment receiver to sell share of Gasprom, Inc. to satisfy judgment).

Terry Harper vs. Ricardo Diaz- Judge Yvette M. Palazuelos, Dept. 28
(Los Angeles County, Los Angeles Superior Court Case No. BC521335)
1516 E. 75th Street, Los Angeles, California 90001
December 2014 to December 2015
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Tanya Freden vs. Ozel Fine Jewelers, Inc.- Judge Bryan F. Foster, Dept. S35
(San Bernardino County, San Bernardino Superior Court Case No. CIVSS805579)
11400 4th Street #103, Rancho Cucamonga, California
12200 Amargosa Road, Victorville, California
73375 El Paseo, Unit K, Palm Desert, California
December 2014 to February 2015
Post Judgment Receiver (appointed to review books, records and collect revenue from 3 jewelry stores to pay
judgment debtor).


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Wilson vs. FE and PVR Wilson Partnership, et al.- Judge Mary Fingal Schulte, Dept. C-6
(Orange County, Orange County Superior Court Case No. 30-2008-00103336-CU-BC-CJC)
December 2014 to February 2015
Receiver (appointed over a family partnership to take control, manage, sell and dissolve the family partnership).

Gold River Valley, LLC.- Judge Thomas B. Donovan, Dept. 1345
(United States Bankruptcy Court, Central District Court Case No. 2:15-bk-10691-TD)
650 to 652 Lake Avenue, Pasadena, CA 91106
February 2015 to February 2016
Court Custodian (appointed to protect and manage a 12 unit condominium complex that was being utilized as a
rental income property. Also prepared the monthly Debtor in Possession Reports).

Anthony M. Reyes vs. Margaret Bernal- Judge Susan Bryant-Deason, Dept. 52
(Los Angeles County, Los Angeles Superior Court Case No. BC547117)
3442-3444 Gleason Avenue, Los Angeles, California 90063
January 2015 to January 2016
Referee (appointed over a multi-unit property to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Strategic Acquisitions, Inc. vs. JJ Freemont Company, LLC.- Judge James C. Chalfant, Dept. 85
(Los Angeles County, Los Angeles Superior Court Case No. BC572433)
1042-1042 1/2 S. Orange, Los Angeles, CA 90019
February 2015 to January 2016
Receiver (appointed to protect and manage a multi-unit residential property).

West Loan Acquisition Holding, LP vs. Laurie B. Share as Trustee of the Share-Zwick Family Revocable Trust dated
4/22/1994- Judge Roger Ross, Dept. 13
(San Joaquin County, Stockton Superior Court Case No. 39-2014-00312144-CU-BC-STK)
108-110 Sycamore Avenue, Mantecca CA, 95336
December 2014 to March 2015
Receiver (appointed to protect and manage a mixed used property consisting of residential rental units and office
space).

Elian Meida vs. Munem Maida- Judge John M. Pacheco, Dept. S31
(San Bernardino County, San Bernardino Superior Court Case No. CIVVS 1101947)
APN: 444-101-46, 47, 48 and 50 in the town of Apply Valley
March 2015 to September 2015
Receiver (appointed to sell Plaintiff’s ownership in the 7.5 acres of properties).

In re: GLER INCORPORATED- Judge Bruce T. Beesley
(Washoe County, Las United States Bankruptcy Court District of Nevada Case No. BK-N-14-51262-BTB)
St. Joseph Care Home, 465 Highland Ave., Reno, NV, 89512
March 2015 to July 2016
Chapter 11 Trustee (appointed over an assisted living facility (group care home for the elderly, disabled and those
with mental illness) to protect, manage, operate, sell and pay off creditors.

Andrew Provenci vs. Dessert Medical Campus, Inc.- Judge Randall Warner
(Maricopa County Arizona, Phoenix Superior Court Case No. CV2015-002274)
13636 N. Tatum Blvd., Phoenix, AZ 85032
200 N. Tonto Street, Payson, AZ 85541
April 2015 to December 2016
Receiver (appointed to protect, manage, and operate a medical marijuana dispensary and grow business).

JPMorgan Bank vs. Oregon Park Senior Apartments Cooperative- Judge Jeffrey S. White
(United States District Court, Northern District of California Case No. 15-CV-00536-JSW)
1425 Oregon Street, Berkeley, CA 94702
April 2015 to December 2015
Receiver (appointed to take control, manage and conduct elections for a Cooperative Home Owners Association).
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Dennis Mitchell vs. Maryln Buehler- Judge Lorna H. Brumfield, Dept. 17
(Kern County, Bakersfield Superior Court Case No. S-1500-CV-278034-LBH)
East Half of the Southeast Quarter of Section 7, Township 28 South, Range 29 East, M.D.B. & M
April 2015 to November 2016
Receiver (appointed to oversee an active oil producing field).

Frances R. Lemos vs. Bertha A. Martinez- Judge Melvin D. Sandvig, Dept. F47
(Los Angeles County, Chatsworth Superior Court Case No. PC055944)
2008 Seventh Street, San Fernando, California 91340
April 2015 to May 2016
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Hennesy vs. Hennesy- Judge Gerald Rosenberg, Dept. K
(Los Angeles County, Santa Monica Superior Court Case No. SC123489)
32826 and 32832 Pacific Coast Highway, Malibu, CA 90265
May 2015 to current
Receiver (appointed over a single family home and land to protect, manage and sell. Also appointed to handle the
division/sale of cinema memorabilia and art).

RCTC Diversified Mortgage Fund, LLC vs. Abram and Rose Tavera- Judge Keith D. David, Dept. S25
(San Bernardino County, San Bernardino Superior Court Case No. CIVDS1408584)
12874 California Street, Yucaipa, California, 92399
May 2015 to July 2015
Receiver (appointed to take possession of a 100 unit mobile home property, protect, and manage).

J.E. Pasquarella Smith vs. Richard T. Pascarella- Judge Laura Matz, Dept. NC-E
(Los Angeles County, Glendale Superior Court Case No.EC062851)
October 2015 to current
303 Vista Avenue, Pasadena, CA 91107
Referee (appointed to partition the property and facilitate the division of proceeds).

Lone Oak Fund, LLC vs. Li-Ya Juang- Judge Laura A. Matz, Dept. E
(Los Angeles County, Glendale Superior Court Case No. EC 064157)
618 S. 6th Street, Alhambra, CA,
200 N. Marengo Avenue, Alhambra, CA
1425 Marguerita Avenue, Alhambra, CA
October 2015 to November 2015
Receiver (appointed to protect and manage a portfolio of properties consisting of apartment buildings).

DKM & RKM INVESTMENTS vs. SWAMI INTERNATIONAL, INC.- Judge Kenneth R. Freedman, Dept. 310
(Los Angeles County, Los Angeles Court- Central Civil West District Case No. BC513725)
4369 W. 134th St. Hawthorne, CA 90250,4730-4732 West 173rd St. Lawndale, CA 90260, 14427 Berendo Ave.
Gardena, CA 90247,15333 Gundry Ave. Paramount CA 90723, 10030 Rosecrans Ave. Bellflower, CA 90706,
13616 Cersie Ave. Hawthorne, CA 90250, 14323 Cersie Ave. Hawthorne, CA 90250, 14428 Cersie Ave.
Hawthorne, CA 90250,13220 Corday Ave. Hawthorne, CA 90250,13612-13624½ Doty Ave. Hawthorne, CA
90250.2616 W. El Segundo Blvd. Gardena, CA 90249, 2936 W. El Segundo Blvd. Gardena, CA 90249, 516
Evergreen St. Inglewood, CA 90302,12521 Grevillea Ave. Hawthorne, CA 90250, 822 Myrtle Ave. Inglewood,
CA 90301, 15328 Orange Ave. Paramount, CA 90723,302 West Queen St. Inglewood, CA 90301, 629 East Queen
St., Inglewood, CA 90301,332 Regent St. Inglewood, CA 90301,702 Venice Way Inglewood, CA 90302,721
Venice Way Inglewood, CA 90302
June 2015 to November 2016
Receiver (appointed over a large portfolio of residential income properties to sell and facilitate the division of
proceeds amongst the parties).

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Hillside Village, LLC vs. Brown & Funk, Inc.- Commissioner Nicole Heeseman, Dept. 12
(Los Angeles County, Long Beach Superior Court Case No. 15F01748)
California Liquor License #371003
July 2015 to December 2016
Receiver (appointed to take control and sell a California liquor license to pay a judgment).

Saloni Kharbanda vs. Sanjeev Kharbanda- Judge Leslie G. Landua, Dept. 24
(Contra Costa County, Martinez Superior Court Case No. D15-00618)
712 D Street, San Rafael, CA, 94901, 918 Chaps Circle, Las Vegas, NV, 89002, 1983 Sunset Bend Drive,
Henderson, NV, 89014, 3412 Diamond Height, Las Vegas, NV, 89129, 1721-1735 N. Decatur Bulevard, Las
Vegas, NV, 89108, 2414-2416 Dobern Avenue, San Jose, CA, 95116, 241-243 Murfield Street, San Jose, CA,
95116, 1788 Loyola Street, San Jose, CA, 95122, 3310 S. Nellis Bulevard, Las Vegas, NV, 89121, 3860 S. Nellis
Bulevard, Las Vegas, NV, 89121 and 402-440 Toyon Avenue, San Jose, CA. 95127,
August 2015 to December 2016
Receiver (appointed over a large portfolio of commercial and residential income properties to manage, sell and
facilitate the division of proceeds amongst the parties).

Dora M. Diaz vs. Marlene Pada Bautista- Judge Michael W. Fitzgerald , Dept. 1600
(United States District Court, Central District of California Case No. CV-10-04690-MWF (JC))
FAJATE.COM, FAJATE.NET, FIRDLEYYOU.COM AND GIRDLEYOU.US
August 2015 to February 2016
Receiver (appointed to take control and sell of domain names).

George Chang vs. Tom Change, Judge Ernest H. Goldsmith, Dept. 302
(San Francisco County, San Francisco Superior Court Case No. CGC-15-544097)
1416 Wallace Avenue, San Francisco, CA 94124
August 2015 to current
Receiver (appointed to oversee and operate a steel fabrication and erection company with over 60 employees).

Mahshid Soleimani vs. Fereshteh Nosratian- Judge Richard A. Stone, Dept. M
(Los Angeles County, West District Superior Court Case No. SC122392)
3741 Keystone Avenue, Los Angeles, CA 90025
September 2015 to current
Referee (appointed to partition a multi-family apartment building).

Alice Alioto vs. Daniel Giles- Judge James Latting, Dept. PS1
(Riverside County, Riverside Superior Court Case No. PSC 1500780)
1272 East Verbena Drive, Palm Springs, California 92262
September 2015 to March 2016
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Legal Recovery, LLC vs. Martin Lee Eng, Judge Ernest H. Goldsmith, Dept. 302
(San Francisco County, San Francisco Superior Court Case No. CGC-14-542378)
953 Lombard Street, San Francisco, CA 94133
September 2015 to current
Receiver (post judgment appointed to take control of Lombard Flats, LLC and execute on $1,507,302.92 judgment).

Berry Locke vs. Raymond Lanflisi- Judge Craig D. Karlan, Dept. N
(Los Angeles County, Santa Monica Superior Court Case No. SC123473)
328-332 Beverly Drive, Beverly Hills, CA 90212
October 2015 to current
Receiver (appointed over retail and office building to protect, manage, sell and facilitate the division of proceeds).




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Pamela Mullins vs. Kevin Stewart- Judge Barbara M. Scheper, Dept. 30
(Los Angeles County, Los Angeles Superior Court Case No. BC553436)
2911 ½ South Palm Grove Avenue, Los Angeles, California 90016
October 2015 to August 2016
Referee (appointed over a duplex to protect, manage, sell and facilitate the distribution of proceeds amongst the
parties).

JPMorgan Chase Bank vs. Manna Catholic Books, Inc.- Judge John R. Hannah, Dept. G
(Maricopa County Arizona, Mesa Superior Court Case No. CV2015-054359)
111 W. Main Street, Mesa, Arizona 85201
November 2015 to February 2016
Receiver (appointed to protect, preserve and manage a retail property).

Linh Doan vs. Dong Pham- Judge David Hood, Dept. C-21
(Orange County, Orange County Superior Court Case No. 30-2015-00798039-CUMC-CJC)
December 2015 to current
Court Appointed Provisional Director (appointed over a pharmacy to facilitate decision making where partners
were at odds).

Randy Taylor vs. Stephen Forde- Judge Mary Stobel, Dept. 82
(Los Angeles County, Los Angeles Superior Court Case No. BC597720)
22634 Maple Avenue, Torrance, California 90505
December 2015 to current
Receiver (appointed over a residential income property to protect and manage).

Aquestus, LLC. vs. Dreem Green, Inc.- Judge Christopher Whitten Dept. 201
(Maricopa County Arizona, Phoenix Superior Court Case No. CV2015-009556)
10040 N. Metro Parkway W, Phoenix, AZ. 85051
December 2015 to current
Receiver (appointed to protect, manage, and operate a medical marijuana dispensary).

Adel Georges vs. Magdi & Nabil Girgis- Judge Ross Klein, Dept. S27
(Los Angeles County, Long Beach Superior Court Case No. NC059736)
426 East Hullett Street, Long Beach, California 90805
December 2015 to current
Referee (appointed over a four-plex apartment building to protect, manage, sell and facilitate the distribution of
proceeds amongst the parties).

Gladys Hernandez vs. Concepcion Maria S. Dedios- Judge Timothy J. Stafford, Dept. C-66
(Orange County, Orange County Superior Court Case No. 30-2010-00401935)
California Liquor License #408535 and 360337
January 2016 to October 2016
Receiver (appointed to take control and sell two California liquor license to pay a judgment).

Jelly The Pug, LLC vs. Diane Knight , Judge Ernest H. Goldsmith, Dept. 302
(San Francisco County, San Francisco Superior Court Case No. CGC-15-549576)
Jelly the Pug Clothing Company
January 2016 to June 2016
Receiver (appointed to take control and operate a children’s clothing company).

Michael Tower Kelly vs. Donna Adams, Judge Ernest H. Goldsmith, Dept. 302
(San Francisco County, San Francisco Superior Court Case No. CPF-15-514158)
442 23rd Avenue, San Francisco, CA 94121
February 2016 to November 2016
Receiver (appointed to take control of a tenant in common ownership and sell it to satisfy an arbitration award).


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Patrick Powers vs. Colin Jones- Judge Robert P. Dahlquist, Dept. N-29
(San Diego County, San Diego Superior Court Case No. 37-2013-00038704-CU-OR-NC)
153 Phoebe Street, Encinitas, CA 92024
February 2016 to December 2016
Receiver/Referee (appointed to protect, preserve, manage, sell a residential income property and facilitate the
distribution of proceeds amongst the parties).

Bernard Cantor and others vs. Green Hills Patient Center, Inc.- Judge James T. Blomo Dept. 411
(Maricopa County Arizona, Phoenix Superior Court Case No. CV2015-005815)
3191 S. White Mountain Road, Show Low, AZ. 85901
March 2016 to current
Receiver (appointed to protect, manage, and operate a medical marijuana dispensary).

Federico R. Salvador vs. Armando Salvador- Judge George V. Spanos, Dept. 34
(Contra Costa County, Martinez Superior Court Case No. MSC15-01686)
2243 Westwood Court, Pittsburgh, California 94565
 March 2016 to January 2017
Referee (appointed over a single family home to protect, manage, sell and facilitate the distribution of proceeds
amongst the parties).

Jose Gallegos vs. Jose Gallegos- Judge William F. Fahey, Dept. 69
(Los Angeles County, Los Angeles Superior Court Case No. BC 552319)
1527 and 1529 Strozie Ave., El Monte, California 91733
March 2016 to current
Referee (appointed over a duplex apartment building to protect, manage, sell and facilitate the distribution of
proceeds amongst the parties).

Amy Jackson vs. Rebecca Hopper- Judge Timothy B. Taylor, Dept. 72
(San Diego County, San Diego Superior Court Case No. 37-2014-00038669)
5095 Mountain View, San Diego, CA 92116
April 2016 to December 2016
Referee (appointed to sell a single family home and facilitate the distribution of proceeds amongst the parties).

Miguel Jimenez vs. Adriana Arias- Judge Richard L. Fruin, Dept. 15
(Los Angeles County, Los Angeles Superior Court Case No. BC557793)
13900 and 13902 South Vermont, Gardena, CA 90247
May 2016 to February 2017
Referee (appointed to manage and sell a duplex and facilitate the distribution of proceeds amongst the parties).

First Republic Bank vs. Hambrecht Wine Group, L.P. - Judge Gary Nadler Dept. 17
(Sonoma County, Santa Rosa Superior Court Case No. SCV 258802)
4035 Westside Road, Healdsburg, California 95448
May 2016 to August 2016
Receiver (appointed to protect, manage, operate and sell a winery).

Maria Efstathious vs. Mike Krokidas- Michael P. Vicencia Dept. S26
(Los Angeles County, Long Beach Superior Court Case No. NC060123)
1923 E. Broadway, Long Beach, CA 90802
May 2016 to June 2017
Referee (appointed to manage and sell a restaurant and bar and facilitate the distribution of proceeds amongst the parties).

Lone Oak Fund, LLC. vs. 1920 Bel Air Rd Real Estate Holding Co., LLC- Judge Gerald Rosenberg, Dept. K
(Los Angeles County, Santa Monica Superior Court Case No. SC125957)
1920 Bel Air Road, Los Angeles, CA 90077
June 2016 to November 2016
Receiver (appointed protect and manage a 38,282 square foot single family home).

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Leonid Teplitsky vs. RX Ingredients, Inc.- Judge Frank Johnson, Dept. T
(Los Angeles County, Van Nuys Superior Court Case No. LC076314)
7107 Valjean Avenue, Van Nuys, CA 91406
June 1 2016 to October 2016
Receiver (appointed to oversee operations of Medisco Health Care Pharmacy to collect a judgment).

Lone Oak Fund, LLC. vs. Las Haciendas, LLC- Judge Keith D. Davis, Dept. S25
(San Bernardino County, Riverside Superior Court Case No. 1607117)
1489 Red Apple Lane, Chino Hills, CA 91709
June 2016 to November 2016
Receiver (appointed protect and manage a ranch property).

Name Disclosed Upon Request vs. Carolina Altafulla Tarraga- Judge Randy Trapp, Dept. 70
(San Diego County, San Diego Superior Court Case No. 37-2014-00011373-CU-BC-CTL)
13137 Via Canyon Drive, San Diego, CA 92129
April 2016 to January 2017
Referee (appointed to manage sell a single family home and facilitate the distribution of proceeds amongst the parties).

4th at 17th Oakland LLC vs. Drake Investors, LLC- Judge Dennis Hayashi, Dept. 522
(Alameda County, Hayward Superior Court Case No. RG-14717266)
1738 4th Avenue, Oakland, CA 94606
April 19, 2016 to May 2016
Receiver (appointed to sell a multi-unit apartment building).

Mildred P. Wolf Revocable 2013 Trust- Judge Mark Borenstein, Dept. 44
(Los Angeles County, Los Angeles Superior Court Case No. BC334976)
9800 Vicar Street, Los Angeles, CA 90034
June 1 2016 to February 2017
Post Judgment Receiver (appointed to complete the sale of a four unit apartment building and distribute funds to the
recipient of the trust).

Li Guan vs. Yongmei Hu- Judge Richard L. Fruin, Dept. 15
(Los Angeles County, Los Angeles Superior Court Case No. BC572177)
3908 Rambla Orienta, Malibu, CA 90265
June 2016 to current
Receiver (appointed to manage and sell a luxury home and distribution of proceeds amongst the parties).

Schlomo Schmuel vs. Israel Basharel & Izzy Basharel- Judge Lawrence Riff, Dept. Q
(Los Angeles County, Van Nuys Superior Court Case No. LC103145
8242 White Oak Avenue, Unit S4, Northridge, CA 91324
12455 San Fernando Road, Sylmar, CA 91342
13404 Woodruff Avenue, Bellflower, CA 90706
9075 Cedros Avenue, Panorama City, CA 91402
5226 Ben Avenue, Valley Village, CA 91607
5234 Ben Avenue, Valley Village, CA 91607
5238 Ben Avenue, Valley Village, CA 91607
July 1 2016 to current
Receiver (appointed to protect and manage a portfolio of residential and commercial properties).

Bay Commercial Bank vs. Susana P. Cordeiro- Judge Stephen Pulido, Dept. 16
(Alameda County, Oakland Superior Court Case No. RG16816152)
19137 Lowell Avenue, Hayward, CA 94541
July 2016 to current
Receiver (appointed to protect, manage and vacate a 15 bed adult residential facility with residents who are physically
handicapped, developmentally disabled and/or mentally disabled).


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Andrea Lombardi vs. Ronald F. Lombardi- Judge Suzanne G. Bruguera, Dept. 71
(Los Angeles County, Los Angeles Superior Court Case No. BC69553)
June 2016 to current
Tax Assessor parcels numbers 3247-032-025, 3247-032-025, 241-040-11, and 374-011-07 located in counties of Los
Angeles and Kern
Referee (appointed to draft a Referee’s Report to recommend a division by sale or in kind of 740 acres of land).

Manjitsingh Champavat vs. Lakshay, LLC- Judge Donna Garza, Dept. S24
(San Bernardino County, Riverside Superior Court Case No. CIVDS 1601104)
1694 S. Reservoir Street, Pomona, CA 91766
August 2016 to current
Receiver (appointed protect and manage F&A Market).

Yung Sook Chung vs. John Koo Chung- Judge Robert P. Dahlquist, Dept. N-29
(San Diego County, San Diego Superior Court Case No. 37-2007-00057917-CU-OR-NC)
308 Cadillac Drive, Oceanside, CA 92054
September 2016 to current
Referee (appointed to manage sell a single family home and facilitate the distribution of proceeds amongst the parties).

Southwest Event Group vs. Rory Mendoza- Judge Christopher Whitten Dept. 201
(Maricopa County Arizona, Phoenix Superior Court Case No. CV2016-008482)
42210 N. New River Road, Phoenix, AZ 85086
September 2016 to current
Receiver (appointed to protect, manage, and operate a business that puts on trade shows).

J. Michael Kelly vs. Jane Rashad- Judge Michael J. Raphael, Dept. 51
(Los Angeles County, Los Angeles Superior Court Case No. 558690)
September 2016 to current
2460 Aaron Street, Los Angeles, CA 90026
Referee (appointed to manage the property and evaluate the liens against the property and report back to the Court).

Attorney At Law vs. Attorney At Law- Judge Robert B. Freedman, Dept. 20
(Alameda County, Oakland Superior Court Case No. RG16830541)
507 Polk Street Suite 410, San Francisco, CA 94102
September 2016 to current
Receiver (appointed to control the trust accounts for partnership dissolution).

Wells Fargo Bank vs. Leticia Perez- Judge Stephen Pulido, Dept. 16
(Alameda County, Oakland Superior Court Case No. RG16816152)
2628 Shattuck Avenue, Berkley, CA 94704
October 2016 to current
Receiver (appointed to protect, manage and vacate a 41 bed adult residential facility with residents who are physically
handicapped, developmentally disabled and/or mentally disabled).

City of Vallejo vs. Claudell and Ethel Stephens- Judge Michael Mattice, Dept. 10
(Solano County, Fairview Superior Court Case No. FCS046974)
1208 to 1210 Florida Street, Vallejo, CA 94590
October 2016 to current
Receiver (appointed to take possession of a duplex and comply with code compliance orders).

Mary Smith Separate Property Trust vs. Tarzana Plaza Condominium Association, Inc. – Judge Yolanda Orozco,
Dept. 77
(Los Angeles County, Los Angeles Superior Court Central District Case No. 16K04378)
18530 Hatteras Street, Tarzana, CA 91356
November 2016 to current
Receiver (appointed to take possession, protect, and manage a 101 unit condominium association).

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J.E. Pasquarella vs. Richard T. Pascarella- Judge Laura A. Matz, Dept. E
(Los Angeles County, Glendale Superior Court Case No. EC062851)
303 Vista Avenue #3, Pasadena, CA 91107
December 2016 to March 2017
Referee (appointed to manage sell a condominium and distribution of proceeds amongst the parties).

Panzy Chattha vs. Sarvpal Dhaliwal- Judge Stephen Acquisto, Dept. 122
(Sacramento County, Sacramento Superior Court Case No. 13FL04083)
December 2016 to current
1024 Iron Point Road Suite 1031, Folsom, CA 95630
Receiver (appointed in a marital dissolution case to oversee an information technology staffing company with 45
employees).

Bonnie B. Fonoimoana, Nancy and David Oram vs. Patricia Talbott- Judge Judith S. Craddick, Dept. 9
(Contra Costa County, Martinez Superior Court Case No. MSC14-01911)
719 Charlton Drive, Pleasant Hill, CA 94523
December 2016 to current
Referee (appointed to manage sell an apartment complex and facilitate the distribution of proceeds amongst the parties).

Andrea Wooden vs. Sharon Wooden, Charlene Kobrine- Judge Barbara A. Meiers, Dept. 12
(Los Angeles County, Los Angeles Superior Court Case No. BC476652)
2018-2024 W. 39th Street, Los Angeles, CA 90008
January 2017 to current
Referee (appointed to manage sell an apartment complex and facilitate the distribution of proceeds amongst the parties).

Royal Development, Inc. vs. RA Sterling Investments and Holdings, LTD- Judge Amy Hoag, Dept. 86
(Los Angeles County, Los Angeles Superior Court Case No. BC621776)
14811 Jadestone Drive, Sherman Oaks, CA 91403
March 2017 to current
Referee (appointed to protect and manage a single family home).

Christopher Datomi vs. Christopher Datomi- Judge Richard Rico, Dept. 17
(Los Angeles County, Los Angeles Superior Court Case No. BC62317)
500 North Brand Boulevard, Suite 2250, Glendale, CA 91203
March 2017 to current
Receiver (appointed to oversee and dissolve a law firm).

Twila Lankford vs. Lavetta and Trecine Lankford- Judge Victoria S. Kolakowski, Dept. 23
(Alameda County, Alameda Superior Court Case No. RG1681456)
2116-2118 High Street, Oakland, CA, 94601
April 2017 to current
Receiver/Referee (appointed to manage sell an apartment complex and facilitate the distribution of proceeds amongst the
parties).

City of Vallejo vs. Verlena Kirkland-Harrison- Judge Michael Mattice, Dept. 10
(Solano County, Fairview Superior Court Case No. FCS048269)
1040 Alabama Street, Vallejo, CA 94590
April 2017 to current
Receiver (appointed to take possession of a triplex and comply with code compliance orders).

5975-5999 Topanga Canyon Blvd. LLC. vs. Zarin Kelk- Judge Melvin Sandvig, Dept. F-47
(Los Angeles County, Chatsworth Superior Court Case No. LC105208)
5975-5999 Topanga Canyon Blvd., Woodland Hills, CA 91367
4942 Vineland Ave., North Hollywood, CA 91601
1028 San Fernando Blvd. Burbank, CA 91502
April 2017 to current
Receiver (appointed to protect and manage three commercial properties).
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Michelle M. Jenkins vs. Abner E. Burgos- Judge Michael A. Sachs, Dept. S28
(San Bernardino County, San Bernardino Superior Court Case No. CIVDS1602133)
3925 Garden Drive, San Bernardino, CA 92404
April 2017 to current
Referee (appointed to manage sell a single family home and facilitate the distribution of proceeds amongst the parties).

Martha Blaine Trust Under Instrument Dated October 28, 1996 2013- Judge Lesley C. Green, Dept. 11
(Los Angeles County, Los Angeles Superior Court Case No. 16STPB02081)
2029 E. 118th Street, Los Angeles, CA 90059
1212 E. 76th Place, Los Angeles, CA 90059
April 2017 to current
Trustee (appointed to sell or transition assets and distribute to beneficiaries of the estate).

Daryl Abrams vs. Joanne Gorby- Judge James C. Chalfant, Dept. 85
(Los Angeles County, Los Angeles Superior Court Case No. BC62574)
78785 Via Melodia, La Quinta, CA, 92253
3601 Vista Pacifica, Unit 5, Malibu, CA, 90265
May 2017 to current
Receiver (appointed to protect and manage two residential rental properties).

Colin Chesters vs. Jacqueline K. Godinez- Judge Joel R. Wohlfeil, Dept. C-73
(San Diego Superior Court, San Diego Superior Court Case No. 37-2015-00041442-CU-MC-CTL)
1207 Firecrest Way, Fallbrook, CA 92028
May 2017 to current
Referee (appointed to manage sell a single family home and facilitate the distribution of proceeds amongst the parties).

Annette Taylor vs. Lawrence Christopher- Judge David Sotelo, Dept. 40
(Los Angeles County, Los Angeles Superior Court Case No. BC631592)
5447 Blackwelder Street, Los Angeles, CA 90016
June 2017 to current
Referee (appointed to manage sell a single family home and facilitate the distribution of proceeds amongst the parties)




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                                      CERTIFICATE OF SERVICE
2

3            I am a citizen of the United States. My business address is 1342 Rollins Road, Burlingame,
     CA 94010. I am employed in the County of San Mateo, from which this service occurred. I am
4    over the age of 18 years, and am not a party to the above-captioned action. On the date below I
     served the following documents:
5
            DECLARATION OF KEVIN SINGER IN SUPPORT OF MENTOR CAPITAL,
6           INC.’S MOTION TO APPOINT A RECEIVER
7           On the following person(s) in this action by:
8           [X]     E-SERVICE by filing the document listed above with the courts ECF service such
                    that all attorneys of record received Notice of Electronic Filing from the court clerk
9                   as follows:
10                  Jaime Bianca Herren     jherren@doylelow.com, mlow@doylelow.com
11
             I declare under penalty of perjury under the laws of the United States and State of California
12   that the above is true and correct. Executed on June 30, 2017 at Burlingame, California.
13
                                                            /s/ Megan Jeanne___________________
14                                                          Megan Jeanne
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     CERTIFICATE OF SERVICE – 3:14-cv-03630-LB
